Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 1 of 80




                                         Case No. 2: 18-CV-00055-TSZ


                                                  Le v. King County


                                        Date of Incident: June 13, 2017




                                        CASE REVIEW & ANALYSIS


                                                    EXPERT OPINION




                                         Prepared by: James W. Borden


                                                     February 26, 2019




                          Page 1 of80




                                                        PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 2 of 80




Kathy Van 01st, Dan Kinerk
King County Prosecutor's Office
900 King County Administration Building
500 Fourth Avenue
Seattle, WA 98104



Dear Kathy and Dan:


Thank you for the kind invitation and opportunity to review this case and provide
 an objective opinion.


This review of incident Case No. 2: 18-CV-00055-TSZ, a use of force incident,
entails an analysis of the incident with a focus on human factors through
statements from the involved Deputies, Witnesses, department policy and SOP's,
including a review of the tactics, mind-set, thought processes, conditions and the
environment that the Deputies were faced with during this event.


All information found in this report is gleaned from statements, either written or
transcribed for the purposes of this report, or gleaned from video or audio footage
that exists, and/or information supplied to me by your office. All documents,
videos or any other relative information that has been used for the purpose of this
report is listed on the attachment "Items received."


After you have reviewed this report, please do not hesitate to contact me with any
questions or concerns you may have.




                                    Page 2 of80




                                                                      PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 3 of 80




             PERSONAL REPRESENTATIVE OF THE ESTATE OF
                                     TOMMYLE

                                           V.


    MARTIN LUTHER KING JR. COUNTY as sub-division of the STATE of
 WASHINGTON, and KING COUNTY DEPUTY SHERIFF CESAR MOLINA.

Expert Jamie Borden


Our File No.:    2: 18-CV-00055-TSZ


Date of Incident:    June 14, 2016


Trial Date: June 10, 2019


Expert Report of James Borden


Name of Expert: JAMES W. BORDEN


Area of Expertise: Law Enforcement Procedure and Law Enforcement Training &
associated Human Performance and Factors, Police Use-of-force, Video Analysis
related to use of force and police related contact


Case Type: CIVIL


Jurisdiction: US District Court, Western District of Washington at Seattle


Expert Witness testifying on behalf of Defendant
                                     Page 3 of80




                                                                     PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 4 of 80




Page                           Subject                           Section
   5      Qualifications                                           01-14
   9      Executive Summary of Opinions                            15-25
  13      Important Terms                                          26-30
  15      Methodology                                              31-32
  16      Summary of Facts                                         33-60
  28      Human Performance/Police Training/Police Practice        59-85
             • Perceptual Issues                                   60-63
             • Visual Issues                                       64-71
             • Relevant news stories                              71-73
             • Movement Dynamics                                      72
             • Related Inconsistencies                                73
             • Focus of Attention                                 74-76
             • Shell Casing Study                                 77-79
             • Movement and Time Compression                      80-83
 40       Analysis Related to Opinions                            84-88
             • Movement Time Study                               89-104
 50       Opinions                                              102-113
 57       Summary of Opinions                                   114-115
 57       Basis for Opinions                                    116-117
 58       Conclusion                                            118-120
 61       Works Cited                                           ---------
            • Attachments                                       ---------
 63                 0 Documents received and reviewed           ---------
 79                 0 Visual Focus Example                      ---------




                                Page 4 of80




                                                              PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 5 of 80




 Qualifications


 1.     My name is James (Jamie) Borden. I have been a peace Officer since 1997,
 and I am actively involved in the review and training of police practices and law
 enforcement policies. As of July 20, 2018, I have retired from the Henderson
 Police Department (HPD) where I was a Sergeant over the Use-of-Force Training
 and Analysis Unit, as well as a Sergeant over the HPD Training Section. I was
 instrumental in the development and operation of the Use-of-Force Training and
Analysis Unit, and have established the Use-of-Force Training and Analysis Unit
as a single point of contact for HPD in use-of-force and critical incidents involving
HPD Deputies, for the purpose of investigation, review and analysis.


2.      I was also one of two full-time Use-of-Force Instructors for HPD, and, as
such, I was responsible for all in-service Use-of-Force training, and associated
training, for police Deputies, corrections Deputies, and HPD's Citizens' Academy.
In addition, I was the primary Use-of-Force Instructor for the Southern Desert
Regional Police Academy (S.D.R.P.A.), a multi-jurisdictional academy in Clark
County, which is a Nevada Police Deputies Standards of Training (P.O.S.T.)
certified entity.


3.     I was involved in all management and oversight of Use-of-Force for HPD,
including, but not limited to, identification of trends in use-of-force in HPD,
statistical analysis of use-of-force through HPD's reporting and accountability
software, and reporting to the Commission on Accreditation for Law Enforcement
Agencies (C.A.L.E.A.) with respect to HPD use-of-force incidents.


                                     Page 5 of80




                                                                       PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 6 of 80




4.     My training, experience, lesson plan development, instruction and lecturing
on the subject of use-of-force and seizure of persons is derived from case law from
the Nevada Revised Statutes (NRS), the Ninth Circuit Court of Appeals and the
United States Supreme Court regarding use-of-force, with perpetual study and
review of all related case law decisions.


5.     In 2012, I received the Force Science Analyst Certification from the Force
Science Institute, which is the leading law enforcement research institute on
studying the science of human dynamics behind use-of-force encounters. In 2013, I
was chosen to pilot the Advanced Force Science Analyst course with the Force
Science Institute and Dr. William Lewinski. In August of 2013, after a 400-hour
focused study in human factors and human behavioral science, I received the first
Advanced Force Science Analyst Certification internationally.


6.     In 2013, I joined the staff at the Force Science Institute as an instructor. I
give lectures and instruction in the field of human performance, and the associated
human factors, as they relate to police training and police procedure. Since 2013, I
have been instructing and lecturing on scientific studies conducted by the Force
Science Institute and other on human factors and human behaviors as those
elements apply to Deputies involved in critical use-of-force incidents. I am
currently a Force Science staff instructor for the five-day Force Science Analyst
Certification, the two-day focused course of instruction, the four-hour modified
Introduction to Force Science classes. I have also co-developed the "Realities of
De-escalation" class as well as developed the 5 day Advanced Specialist
Investigators course of instruction with the Force Science Institute. I have co-
developed the "Body Cam" class with Dr. William Lewinski, and I have also been
                                      Page 6 of80




                                                                         PLTF EXHIBIT B
          Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 7 of 80




     directly involved in studies conducted by the Force Science Institute as a test
     subject and as a consultant, including gathering empirical data for use in peer
     reviewed journal articles. I am also currently an assistant instructor in forensic
     video investigations in the U.S. and Canada


7.       From 2012 up to my retirement in 2018, I was responsible for the review,
analysis and consultation of use-of-force reporting for members ofHPD, including
police Deputies and corrections Deputies, as the former Sergeant over the Use-of-
F orce Training and Analysis Unit.


8.       I have extensive experience with HPD in police patrol and as a training
Officer and instructor. I am also a certified Taser Instructor, Defensive Tactics
instructor, Baton instructor, and a Firearms Instructor and Range Master in the
capacity of Sergeant over the training facility for the Henderson Police
Department.


9.       I have been in the following specialized assignments for HPD: Field
Training Officer, The Training Bureau, Narcotics Division, and, as Sergeant, and
developer of the Use-of-Force Training and Analysis Unit. I have an in-depth
background in analysis of human factors, human behavior, and human
performance related to law enforcement including, but not limited to, investigating,
reviewing and analyzing officer involved shootings and critical incidents through
video analysis, as well as on scene investigation. My training and background have
given me first-hand knowledge, application experience, and the objective basis to
review peace officers actions and the time compressed decisions involved in the
use of non-deadly and deadly force.
                                         Page 7 of80




                                                                           PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 8 of 80




 10.   I was responsible for periodic reviews and updates of HPD's Use-of-Force
Policy, as well as related policies connected to use-of-force and associated police
procedures.


11.    Since 2013, I have instructed and/or lectured on Use-of-Force and human
factors nationwide, including the FBI Academy Associates, Law Enforcement
Executive Development seminars (LEEDS) and multiple jurisdictions nationwide
including state police, municipalities, sheriffs departments and attorneys.


12.    I am currently a member of the HFES (Human Factors and Ergonomics
Society) as a professional working in the capacity of Senior Instructor for the Force
Science Institute, lecturing on the application of the scientific study of human
performance and decision making related to law enforcement. I have been
accepted in court Federally and at the State level as an expert in the application of
scientific research regarding human behavior, as it relates to law enforcement
training, Use-of-Force, general police practices and forensic video investigation
and examination related to police use of force.


13.    I have works published in the Las Vegas Police Protective Association's
Magazine, "Vegas Beat," and have published an article titled "Policy Matters" in
May 2016 with the Daigle Law Group (DLG) (see
http://digital.91lmedia.com/i/678564-may-june-2016). There is a complete list of
my publications, lectures and instruction on my Curriculum Vitae, as well as
previous and current cases I am involved in as an expert or consultant.




                                      Page 8 of80




                                                                          PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 9 of 80




14.     Note: Any fact summary is provided for convenience and does not
necessarily itemize every single fact relied upon by this expert in the formation of
my opinions-conclusions in this matter: it is based upon my review of the
aforementioned records-materials. I do not contend to have direct personal
knowledge of the incident facts.


 Executive Summary of Opinions


  15.    Based upon the totality of circumstances described herein, Deputy
 Molina's decision to use his firearm, in efforts to stop the deadly threat posed by
 Tommy Le ("Le") toward Deputies in this case was appropriate and within the
 parameters of training. Deputy Molina' s use of his firearm was in accordance
 with generally recognized police training standards and department training, as
 well as within the General Order Manual parameters, based upon the distinctive
 circumstances experienced by Deputies in this incident.


 16.     Based upon empirical data in human movement studies related to the time
 required to move (act), and the interactive time to respond (react), and
 considering the distances enmeshed, it is my opinion that Deputy Molina acted
 appropriately under the totality of circumstances. Deputy Molina acted quickly
 under the compression of time in order to defend himself and others in a highly
 critical incident with Le, who was an unpredictable, violent and non-compliant
 subject.


 17.    Deputy Molina and Deputy Owens initially attempted to use a lesser level
 of force by first giving lawful verbal commands, and subsequently deploying

                                     Page 9 of 80




                                                                       PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 10 of 80




 ECW's (Tasers) in an effort to stop Le's forward attack toward Deputies. It is
 my opinion that Deputy Molina would not have had adequate time to consider
 other tactics, or create enough distance to safely use another less than lethal
 force option, in consideration of all of the facts surrounding this incident.
Additionally, in light of the information known to the officers at the time, I am
of the opinion that attempts to use lesser levels of force shows an extreme and
dangerous commitment to preserve another life above their own, on the mere
possibility that the subject was mentally ill, or under the influence of illicit
narcotics (LSD).


18.    With respect to human performance issues, based upon the facts of this
case, including Deputy Molina's statements, the statements of others and
available evidence, Deputy Molina would have had no time to reassess the
rapidly evolving circumstances that the Deputies were faced with. This time
compression prevented Deputy Molina from safely making an alternative
decision, developing an alternative plan, or employing alternative tactics during
the fractions of a second that the deadly threat was perceived. Based upon
statements and the factors that Deputy Molina faced in this situation, it is my
opinion that Deputy Molina made an appropriate decision based upon training,
policy and General Orders Manual ("GOM") section 6.00.00, Use of Force, in
using deadly force in order to stop the perceived deadly threat posed by Le.


19.   Notably, an edged weapon is considered a deadly threat, and, upon initial
contact, Le advanced towards Deputies with an implement the Deputies
believed to be a knife or a sharp object, which was later described as "a pointy


                                     Page 10 of80




                                                                        PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 11 of 80




 object" by Deputies. This perceived deadly threat posed by Le toward Deputies
 forced Deputy Molina to respond with deadly force.


 20.    Those involved and those witnessing the incident stated that Le was
 displaying agitated, non-compliant and violent behavior towards the Deputies.
It is my opinion that these factors created a scenario where the use of any
potential alternate tactics by Deputy Molina would have been incumbent upon
Le's actions and compliance from Le, which did not happen.


21.     It is my opinion that the number of rounds fired by Deputy Molina at Le
during the perceived deadly attack by Le is consistent with human performance
issues related to the time required to; 1) perceive, react and respond to a deadly
threat; 2) the time to start shooting as a response subsequent to perception and
reaction; and 3) the time to stop shooting when Deputy Molina perceived a
change in the actions of Le.


22.    Finally, the theory of "consequentialism" requires consideration in this
event, i.e., noting that the involved Deputies had no way of knowing the future
or the outcome of this event based upon the unknown elements unfolding during
the incident. It is forbidden to use 20/20 vision of hindsight in cases of this
nature, as set forth in the SCOTUS decision in (Graham v. Connor, 490 U.S.
386 (1989)). This particular case law is reflected in the GOM and quoted in
department training and not being referred to as an application of law. However,
I do refer to governing case law in the analysis of the information gleaned from
the full investigation.


                                    Page 11 of80




                                                                       PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 12 of 80




 23.     The mention of the subject (Le) potentially being mentally ill, in mental
 crisis, or otherwise mentally incapacitated, has no bearing on the opinions in
 this report. In these rapidly evolving scenarios, diagnosis of any particular
 ailment is not relevant to the split-second judgement that Deputies were faced
 with in this particular case. Had initial attempts at using lesser levels of force,
 i.e., verbal commands, and use of the Taser been successful, other tactics and
 protocols could have been implemented in consideration of any mental
 incapacities and/or any other potential medical emergencies.


 24.    Deputy Molina took a position at the rear of the patrol vehicles, in the
 intersection as the other Deputies on scene were gathering information from
civilian witnesses and victims. Deputy Molina was "standing off' for officer
safety purposes, because Deputies did not know where Le was at that time, and,
were not actively seeking Le at the time of the encounter. This is important
because; the Deputies were gathering information about the incident and had no
plans to approach Le at that moment. When Le appeared, Deputies were making
-decisions solely in reaction to Le's actions. Le's mental status was also
:unknown at the time of first contact. A mere possibility that an individual may
be mentally unstable does not change the Deputies immediate need to stop Le's
violent behavior toward Deputies and the community. In other words, time and
circumstances did not allow any other tactic in this incident. This is mentioned
in the GOM under De-escalation. Further, the facts in this case establish that
Le approached Deputies at the intersection.


25.    Section Conclusion. Considering the totality of facts and circumstances
from the perspective of the Deputies involved, and with careful balancing of all
                                     Page 12 of80




                                                                         PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 13 of 80




 identifiable principles, it is my opinion that; I) Deputy Molina was making
decisions with only the information available to him at the time the incident; 2),
The incident quickly developed, in real time, with deputies having no
knowledge of the intentions of Le or the future outcome or results in this
incident. Deputy Molina's decisions were appropriate, in defense of himself,
other deputies and nearby citizens, under the extreme compression of time.


Important terms


26.    Time Compression. Refers to any phenomenon that alters the qualities of
and relationship between space and time, i.e., the threatening actions of a person
towards another person that diminishes the meaning of distance in relationship to
the ability to respond in a timely fashion in order to defend against the threatening
action (also referred to as "action v. reaction").


27.    Consequentialism. In knowing how this incident ended, scrutiny of the
Deputy's actions is potentially judged on this "end" knowledge, which is
gained only in hindsight after reading reports, reviewing documents and
analyzing any available video or audio recordings. Here, Deputy Molina did
not have prescient knowledge of how this incident was going to end and, as a
result, the decisions that were being made by Deputy Molina were made based
upon information that was available to him at the moment of the use-of-force.
It was impossible for Deputy Molina to know what the outcome of Le's actions
would have been, or what Le's actual intentions were, as this event was
initiated by Le and was unfolding prior to Deputy Molina being able to act. In
some cases, scrutiny is based upon knowledge only known after the fact, i.e.,
                                     Page 13 of80




                                                                      PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 14 of 80




 hindsight. Here, the decisions being made by Deputy Molina were being
 driven by the actions of Le at the time of the incident. Hindsight knowledge
 and information known today was not available to Deputy Molina when he was
 faced with Le's actions during the incident. Therefore, any scrutiny of Deputy
 Molina's decisions, actions and tactics must be done without the benefit of
 20/20 vision of hindsight (Graham v. Connor, 490 U.S. 386 (1989)).


28.    Regardless of what other tactics may or may not have existed, and based
 on the dynamics of human interaction as established in this incident, i.e.,
decision-making, and action versus reaction time frames, there was no time for
Deputy Molina to safely analyze and compare potential options when faced with
what was perceived as a deadly threat by Le that was occurring rapidly. Deputy
Molina's percept1on that Le's actions were a deadly threat were incidental only
to Le's actions.


29.    Focus of Attention. Attention is the behavioral and cognitive process of
selectively concentrating on a discrete aspect of information, which can be
either subjective or objective, while unable to attend to other perce_ivable
information. It is the taking possession by the mind, in clear and vivid form, of
one object out of what seems to be several simultaneous objects or trains of
thought. F ocalization and concentration of consciousness are at the core of
what constitutes "attention. 11 Attention has also been referred to as the
allocation of limited processing resources. (Anderson, 2005).


30.    Threat Cues. The identification of threat cues is imperative in order for a
Deputy to respond quickly and appropriately in rapidly evolving, highly critical
                                     Page 14 of 80




                                                                       PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 15 of 80




scenarios such as this one. However, a Deputy cannot predict a non-compliant
resistive, aggressive, combative and/or violent subject's action with 100% accuracy
based on the theory of consequentialism. Considering this, a Deputy is not expected
to allow himself to be subjected to violent behavior prior to responding with some
level of force, based on the suspect's apparent violent behavior in the moment force
is used. In this incident, Le was disobeying commands and behaving in a perpetual
state of non-compliance and violent manner toward Deputy Molina, who was acting
in the course of his duties as a Deputy. Subsequently, all decisions being made by
Deputy Molina are driven by the context in which Deputy Molina is operating, i.e.,
a Deputy in the legal course of his duties.


31.    Methodology. - The facts stated in this expert report are significant to police
procedures, police objectives, human performance factors, and the dynamics of
action versus reaction in a time of crisis while facing an unpredictable threat. Also
considered is decision-making in a highly critical setting, including the Deputies'
mind set and perception of the involved subject's actions in a time compressed
setting, where the decisions being made implicate the safety and survivability of the
Deputies and others. These decisions include the recognition of the threat
confronting the Deputies in real time as the Deputies attempted to de-escalate,
stabilize, control and make safe an otherwise potentially violent and unsafe
circumstance. The focus of this report is on police procedures and practices and the
related human performance issues during the initial contact with the involved.


32. My opinions in a deadly use-of-force case are carefully and objectively
considered on a case-by-case basis. The consideration of many principles must
be weighed against the level of intrusion into a person's rights when use-of-force
                                    Page 15 of 80




                                                                      PLTF EXHIBIT B
    Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 16 of 80




by the government is applied in a well-intentioned manner. However, well
intentioned does not necessarily equate to necessary or reasonable force,
acceptable or rm-acceptable force, by the standards set forth in training, policy,
and/or governing case law. I have identified the following principles for
consideration in this particular case.




  • Training of the Deputies.
  • Relative experience and tenure.
  • Pre-existing information regarding the incident.
  • Information learned on the scene as the Deputies and other peace officers
     arrived.
  • Information and actions unfolding in real time.
  • Overarching context in which the incident occurred.
  • Efforts of the Deputies to use alternative methods of force prior to their use
     of deadly force.
  • The time available for Deputies to assess and evaluate information during the
     incident.
  • Human performance and human limitations the Deputies were faced with
     during the incident i.e., time, distance, speed and motion.
  • Physical and forensic evidence available to support or refute statements,
     decisions and claims.
 • Consistencies and inconsistencies in the statements and evidence.



                                    Page 16 of80




                                                                      PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 17 of 80




Summary of Facts


 33.    This is a summary of facts upon which my opinions in this case are based.
 This summary is based upon statements, which are written, recorded and/or
transcribed. All documents referred to in the "items received" section have been
reviewed for relevancy to the issues addressed in this report. The facts stated in
this summary are significant to decision-making in an action versus reaction
setting, including mind-set and the Deputys' perception of the involved subject's
actions, in a highly critical, time compressed setting, where the decisions being
made could implicate serious injury, or life and death of the subject/suspect,
Deputies and others. These decisions include the recognition of the threats
confronting the Deputies or others in real time as perceived by the Deputy(s) in an
attempt to stop the threat in this violent circumstance. The focus of this report is on
issues of general police procedure related to timing issues in the use of deadly
force, as well as associated action/reaction factors, i.e., human performance and
decision making in a time compressed and critical incident. Also considered in this
analysis are the detection of, and reaction threats perceived through visual, audible
and other stimulus.


34.    Note: Any fact summary herein is provided for convenience and does not
necessarily itemize all the facts relied upon by this expert in the formation of my
opinions-conclusions in this matter, which is based upon my review of the
aforementioned records-materials. I do not contend to have direct personal
knowledge of the incident facts other than those learned from documents and
materials, and the existing evidence.


                                    Page 17 of80




                                                                       PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 18 of 80




 35.    Initial facts and information. Based upon review of the listed
 documentation, the following general information was determined about the
 incident that occurred on June 13, 2017.




Relevant General Information.


36.     The following sections outline Deputy Molina's observations as he arrived
on the scene and was subsequently faced with a subject (Le) that had an object in
his hand and was non-compliant and violently aggressive toward Deputies.


37.     Outlining this information can help in understanding how Deputy Molina
was making decisions, what information was driving Deputy Molina's decision-
making process under the compression of time, as well as the action/reaction
component, during the perceived deadly attack posed by Le.


38.    Pre-existing information. This was not an anonymous call. The quantity
and quality of the information, as well as the nature of the original call to call
takers, was considered real and actually happening (in progress). The call
caused no concern amongst experienced call takers, dispatchers or officers that
this was a false report of unknown trouble and a violent crime in progress.
Further, this type of call, albeit infrequent, is not abnormal and such incidents
pose very real threats to officers and the community. In the call details, prior to

                                     Page 18 of80




                                                                        PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 19 of 80




 the officer involved shooting ("OIS''), information was relayed to the officers on
 scene that the suspect (Le) had physically assaulted members of the community,
 attacking and attempting to stab at least one subject, and then chased another
 citizen. Le was reported as hitting or "stabbing" the door of one citizen, who
fired his legally concealed firearm once as a warning shot in an effort to stop Le,
which was ineffective. Le reportedly fled this scene with a knife in his
possession as described by the victim. Although one of the callers stated that it
may not have been a knife, the caller stated that Le may have been carrying a
large tool, screwdriver, or something "pointy." Additionally, one caller
described Le as possibly mentally ill (220). This summarizes the information
learned pre-event by the Deputies responding to the area, including Deputy
Molina. This information is considered an integral part of the totality of the
circumstances that was known or should have been known to the responding
Deputies.


39.    Initial Response - Deputy Molina stated that he responded to the 13600
block of 3rd Ave. S., in Burien, King County, WA, reference a 911 call. Upon
arrival, Deputy Molina was faced with a dynamic and confusing scene, with
multiple individuals, wherein there was a subject, later identified as Le, reportedly
had a knife, another subject reportedly had a firearm, and a shot had already been
fired. Although there was conflicting information that Le may not have had a
knife, the witness who reported this stated that the subject had a "Knife," while
another witness stated it may have been something other than a knife, described as
a "pointy" object and was wielding it as a weapon. This is important because
officers were getting conflicting information from witnesses. However, it does not

                                    Page 19 of80




                                                                      PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 20 of 80




 have to be a conventional and easily recognizable weapon to cause death or
 substantial bodily harm.


40.    Arrival- Based upon information provided by the Sheriff's Department,
three Deputies arrived on scene at nearly the same time: Deputy Paul and Deputy
Owens were the first two Deputies to arrive. Based upon Deputy Molina's
statement, Deputy Molina was the third Deputy on the scene. Once Deputies
arrived on scene, there were several people in a yard and in the street, all of them
considered an unknown threat in a highly critical call for service, due to the fact
that a shot had been fired. Deputies Paul and Owens controlled the three
individuals that were at the scene, considering the information received of a shot
being fired. Deputy Owens and Deputy Paul began to receive information from
the witnesses and victims regarding the attacks and the shot fired by the citizen.
During the time that Deputies were arriving on scene, additional information was
being dispatched regarding the incident. At this point, Le had not yet been
identified or located. However, Deputies confirmed all of the dispatched
information by speaking to the victims and witnesses on scene who had been in
close proximity to Le, or actually assaulted by Le.


41.   RADIO DISPATCH OPERATOR: (Inaudible) South 136th Street, Third
Avenue South, we have a male on a cell phone, said a subject just came after him
with a knife and is currently northbound on Third Avenue. The subject is Asian
male5'1 O", black shirt, black shorts, and is barefoot, South 136th Street, Third
Avenue South. The original caller that said he was chased with a knife is now
saying that he doesn't know if it was a knife but it was an object that was pointed.


                                    Page 20 of 80




                                                                      PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 21 of 80




 might be 220 for all the other callers, as he's trying to tell us that he is the creator.
 (KC_DISC_0000042)


42.    On 6-13-2017 at 11:59 p.m. the Comm. Center received a 911 callfrom
Rick Benjamin. Benjamin lives at 13611 3rd Ave. Sin Burien. Benjamin told the
call receiver he'd heard a gunshot and that he could see four people standing
across the street from his residence. He said one of the persons, a male, was
carrying a handgun. He said he couldn't tell if anyone had been injured Sheriff's
deputies were dispatched to investigate the incident at 12:01 a.m. on 6-14-2017. At
12:01 a.m. the Comm. Center received a 911 call from James Cradle, a resident at
13416 3rd Ave. S. Cradle said for the past 20 minutes he'd heard a male
screaming at the top of his lungs. He said the male was currently walking on 2nd
Ave. S, heading towards a nearby 7-11 store. At 12:02 a.m. the Comm. Center
received a 911 call from Kevin Hernandez, who lives at 13602 3rd Ave. S.
Hernandez said he was the person that fired the gunshot, stating that somebody
tried to attack him with a knife. Other 911 calls continued to come in with similar
information. Deputies began arriving in the area at 12:02 a.m. At 12:04 a.m.,
Deputy M Paul, one of the deputies that had just arrived on scene, said over his
police radio that shots had beenjired He then said that "one down" and "need
aid "Further, he stated that the person who had been shot was an Asian male in
his 30 's, that he'd been struck by gurifire three times, and that he was conscious
and semi-alert. Medics arrived and transported the male to Harborview Medical
Center (HMC). (KC_DISC_0000045)


43.    Suspect contact. Based upon statements by Deputy Molina, Deputy
Molina positioned himself behind police vehicles in an attempt to locate Le. Le
                                     Page21 of80




                                                                         PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 22 of 80




 then appeared infront of Deputy Molina and Deputy Molina attempted to stop Le
with verbal commands as Le was approaching Deputies and other citizens. At this
moment, Deputies, including Deputy Molina, had knowledge that Le was the
subject identified as being in possession of a knife and that he had already
aggressively chased two citizens in the area.


 44.    Distance from suspect at first contact. Deputy Molina initially
contacted Le with a Taser as the force option. This was a conscious decision
made by Deputy Molina despite the pre-existing knowledge that Le posed a
potentially deadly threat to Deputies and citizens. That notwithstanding, Deputy
Molina's choice in force options required him to be within effective Taser range
in order to have any chance of successfully controlling Le. Importantly, the fact
that Deputy Molina opted for a less than lethal use of force did not minimize the
potential deadly threat posed by Le.


45.     Witnesses stated the following just prior to contact with Le ; 1) Zachary
Schwiethale stated; we identified him, said that's the male with the knife, and uh,
and then officers moved in on him. (KC _DISC_0000671) 2) Lawrence Rice
stated; I hear Kevin yelling at the officers, "there he is, there he is", then I hear
the officers hollerin at the guy and Kevin is yelling at the officers that be careful,
he has a knife, he has a knife! (KC_DISC_0000627) L. Rice stated that he did not
see the knife or any object, and that he had an obstructed view of Le. In addition,
although other witnesses did not comment on Le having a knife, these witnesses
stated that they observed Le "charge" or "rush" the Deputies. The civilian
witnesses closest to the incident at the time were Anthony Rice, Zachry
Schwiethale, and Kevin Hernandez.
                                     Page 22 of80




                                                                         PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 23 of 80




 46.     At the time Deputy Molina identified Le as the suspect, the victim and the
other witnesses were positioned behind the Deputies as Le approached Deputy
Molina with an object in his hand. At this time, Deputy Molina began issuing
verbal commands to Le. Although the witness statements are inconsistent with
respect to exactly what commands Deputy Molina gave to Le, witness statements
confirm that verbal commands were being given to Le as he approached. As Le
approached, Kevin Hernandez stated; A We all turned and said, Yo, that's him.
Like, that's the guy. That's the guy who was just here. And they were like, Okay.
And, you know, we're, like, Be careful. You know ,like, he had a -- he had a knife
when he, he encountered us. And they're like, Okay. (Dep. Kevin Hernandez, p.
58; line 9-16.)


47.     Suspect's Actions - As Le was aggressing the Deputies, Deputy Molina
began yelling verbal commands at Le while he (Deputy Molina) positioned
himself in a tactical position in order to have a successful Taser deployment. A
successful Taser deployment required that Deputy Molina be within 15-21 feet of
Le. One of the first and primary assessments made by Deputy Molina was the
fact that Le appeared agitated, and Le was not answering or responding to the
verbal commands given by Deputy Molina. Deputy Molina stated that he was
maintaining a distance from Le of approximately 20-25 feet during the verbal
commands, and that, at some point, Deputy Owens was a distance off to his left.
Based upon Deputy Molina's recollection and as discussed in Deputy Molina's
compelled statement, the following is an approximate diagram of the scene.




                                    Page 23 of80




                                                                     PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 24 of 80




 48.    Le was not following Deputy Molina's verbal commands and,
consequently, Deputy Molina deployed his Taser in an attempt to stop Le. The
Taser had no effect on Le. Instead of stopping Le, Le began to run at Deputies.
All witnesses in the vicinity stated in some fashion that Le was aggressively
approaching the Deputies. Deputy Owens stated Le was at a full sprint towards
him and the other citizens. Deputy Owens saw that Deputy Molina had his Taser
out and subsequently drew his Taser. At this time, based upon Deputy Molina's
statements and under the compression of time, Deputy Molina transitioned from
his Taser to his department issued hand gun. This transition occurred quickly
because of Le's aggressive, fast approach. As a result, Deputy Molina had no
opportunity to remove the spent cartridge from his Taser prior to holstering the
Taser, which left potentially live wires and probes exposed.


49.     Holstering a Taser without removing a live cartridge is not necessarily a
trained tactic. However, in some instances like this one, it was absolutely
                                    Page 24 of80




                                                                      PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 25 of 80




 necessary for Deputy Molina to secure the Taser despite the live cartridge in
 order for Deputy Molina to successfully transition to another force option under
 the distinct compression of time. Deputies must be in control of their weapons at
 all times, including Tasers, in order to prevent a scenario where the use of deadly
 force becomes immediately necessary, due to the negligent manipulation and
 securing of a weapon. However, training does not, and cannot, prepare a Deputy
 for every encounter. Accordingly, adjustments to training and tactics are often
necessary and expected in highly critical incidents like this one. These
adjustments are made in relation to the decision-making process, ability to focus
attention, and ability to respond or react to a suspect' s actions, which are all
occurring very quickly. For these reasons, when an issue of fact is being
determined in a critical and dynamic incident such as this, it is inaccurate to
assume peace officers "never" do something that wasn't specifically trained.


50.    Deputy Owens observed that Le had an object in his hand. The position of
the object is described by Deputy Owens as held in a closed fist. According to
Deputy Owens, Le was also waving the object above his head in a position
recognized by Deputy Owens, within the context of this incident, as an attack
position. Deputy Owens described Le as running at a full sprint towards him, and
Deputy Owens stated that he thought Le was going to stab him.

51.   While Deputy Molina transitioned to his hand gun, Deputy Owens stated
that Le had closed the gap between him and Deputies to 5-7 feet from Deputy
Owens. At this point, Deputy Owens deployed his Taser. As with Deputy Molina,
the Taser deployment by Deputy Owens was unsuccessful. It was at that moment
that Deputy Owens made the decision to transition to deadly force. According to
                                     Page 25 of80




                                                                        PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 26 of 80




Deputy Owens, while he was transitioning to his hand gun, Le charged forward,
past Deputy Molina towards Deputy Owens and the other civilans standing nearby.
Simultaneously, Deputy Molina began to fire his weapon.

 52.     The intentions of Le were not known to the Deputies at this moment.
However, based upon Le's aggressive behavior, and in the context of the other
information known pre-event (see above), as well as the information assessed by
Deputies as the contact with Le evolved, Deputies assumed the deadly attack was
real and, in fact, progressing from an imminent deadly attack to an immediate
deadly attack.

53.     It is important to note that, if Le had complied with Deputy Molina's
verbal commands and other Deputies' verbal commands, or if Le had shown any
signs of compliance, other de-escalation techniques or tactics may have been
considered by Deputy Molina and Deputy Owens to stabilize the situation.
However, in this case, Le not only failed to respond to lawful verbal commands
by Deputies, he also initiated a forward advancing attack, forcing a reaction from
Deputy Molina and Deputy Owens, both of whom decided to use deadly force to
stop the potential deadly threat posed by Le.

54.     Section Conclusion - Deputies are not expected to retreat in the face of a
potential deadly attack, specifically in an environment where other individuals
may be in danger. This detail, protection of others, is always a consideration
based upon the actions of Le being perceived by Deputy Molina and Deputy
Owens as an attack.



                                    Page 26 of80




                                                                     PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 27 of 80




 55.       The seizure requirement under the Fourth Amendment is the prohibition of
unreasonable searches and seizures (arrests) of any person, which is the
constitutional provision at issue when law enforcement Deputies seize a person.
 "The appropriateness of the type and level offorce necessary to achieve a seizure
is more often dictated by the actions of the person being seized, than by the
Deputies doing the seizing ... [and] can only be justified by the necessity to
protect life." (Hall, 2014)

 56.       (Graham v. Connor (1989) 490 U.S. 386, 396-397.) Reasonableness
includes "allowance for the fact that police Deputies are often forced to make
split-second judgments-in circumstances that are tense, uncertain, and rapidly
evolving-about the amount offorce that is necessary in a particular situation. "
(Please note the General Order Manual cites language from this case law; Use-
of-Force.) References to case law language in this report is associated not with
application of the law from my perspective, however, it is referred to in this
report as it relates to the above general order manual by which deputies are
trained.

57.     In consideration of the term "consequentialism," there was no way for
Deputy Molina or Deputy Owens to effectively or definitively identify the
intentions of Le other than Le's actions up to the point that Le advanced towards
Deputies. As the incident continued to rapidly unfold, Deputy Molina and Deputy
Owens only had limited information available to them at the moment the
perceived deadly attack began, including the probability that Le was going to
continue his deadly attack, placing Deputy Molina, Deputy Owens, and civilians
at potential risk of death or substantial bodily harm. In this context, any reactions

                                     Page 27 of80




                                                                       PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 28 of 80




 by Deputy Molina and Deputy Owens at this point were incumbent upon the
 actions of Le. From the statements made by Deputy Molina, these actions appear
 to be under the compression of time.

 58.     Under the Fourth Amendment, police are "not required to use the least
intrusive degree of force possible," but may use only such force as is objectively
reasonable under the circumstances. The question here is, what was the stimulus
for the decision to use force? Human performance elements must ~e considered
as referenced in this report, and the Deputy's orientation can only be derived from
the statements and all corroborative evidence associated with the occurrence.
(MICA R. ENDSLEY).

 59.    Human Factors and Performance related to Law Enforcement
Training and Standard Police Practice. In every critical incident, there are
factors related to human performance limitations in action versus reaction
scenarios. At the time of the use-of-force where mechanical processes and actions
by Le, as well as perceptions, decisions and responses by Deputy Molina and
Deputy Owens are occurring, all under the compression of time, human
performance factors and limitations are in play. In these moments, when
decisions are being made, and reactions are occurring in response to Le's actions,
it is important to remember that these elements regarding decisions take time and
that these increments of time must be recognized and analyzed. In this incident,
time compression plays a role in the decision-making process and is largely
dependent on what information was being perceived by Deputy Molina during the
incident. In this case, it is not possible to accurately assume a particular focus of
attention of any individual during the incident. However, Deputy Molina stated

                                    Page 28 of80




                                                                        PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 29 of 80




 that he was afraid Le was going to kill or injure him, Deputy Owens, and the
 civilians that were present.

 60.     Perceptual Issues - As an investigator it is significant to identify the
relationship between "fact" and "truth" in terms of witnesses and involved
accounts. More specifically, perception in highly critical incidents varies from
one involved person to another. These differences are based upon an individual's
training (if any), experience (if any), and position within the incident, i.e.,
distance, visual angle, lighting. Another important aspect is consequences. A
witness that is viewing the event from a distance, without a full understanding of
the interaction, a witness who is not faced with the consequences of a perceived
life and death encounter, will have a very different perspective and a potentially
contrasting witness statement.

61.      In an investigation or analysis of a dynamic and critical event, it cannot be
assumed that issues can or should only be viewed in one particular light, manner
or form. For instance, in this incident, the "truth" as accepted by most of the
witnesses, especially those witnesses with close proxemic interactions with Le,
was that Le was wielding a knife or some sort of object that could cause death or
serious bodily harm. This is the "truth" from the perspective of those witnesses.
Much of this perception comes from the context and the circumstances in which
the information is being received.    The "fact," however, is that the object at the
time of contact with Deputy Molina was a black ink pen. Nevertheless, this
"fact" is only made known after the incident has concluded. Below is an excerpt
from Zachry Schwiethale's statement.



                                     Page 29 of80




                                                                        PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 30 of 80




 62.     L I can't and I actually, I hope I didn't over state this. I assumed it to be a
 knife. He was holding it in a way that looked like he was ready to stab. It looked
 sharp as if it was pointed. It looked sharp as if it was pointed. It looked like it was
 either a knife or it could have been a screw driver or something that was sh-sharp
and pointy, uh ... ( KC_DISC_0000672)

 63.    Schwiethale's statement is an example that the visual process, in terms of
perception, is dependent on a witness's ability to identify an object or an action
within the evolving dynamic of contact. In other words, this particular incident
did not involve a static representation of any particular weapon, in a daylight
setting, with time for Deputies or witnesses to fully evaluate the object in Le's
hand, which was perceived as a potentially deadly weapon.

 64.    Visual Issue. One of the preeminent issues in this incident is the fact that
Le did not have what most people would consider to be a deadly weapon at the
time of the shooting. The defining attributes to a perceived deadly weapon are
primarily formed within the context in which the object is being presented or
used. The fact that the perceived implement is not a proper edged weapon (a
knife), a gun or some other obvious deadly weapon, does not negate the fact that
a subject with malevolent intentions can injure or kill someone with an
implement that is not a knife, a gun or other obvious weapon. Here, even a pen,
such as the one Le was holding, can be used in a manner that could substantially
harm or kill Deputies or other innocent bystanders.

65.     In addition, visual angle has a dramatic effect on a person's ability to
determine the nature of any particular object. The photographs below
demonstrate that, even when examined statically, in daylight, without the
                                      Page 30 of80




                                                                         PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 31 of 80




 compression of time, the angle of each implement makes it difficult to determine
 the specific type of object that is held. All of the implements pictured below can
 cause death or serious bodily injury if that is what the offender chooses to do with
 the object.




 66.     Here are some examples of visual angle:




      • a.                 b.                       C.               d.




        e.                  f.                      g.                h.

67.     In these examples, it is difficult to discern what each object is without
having a distinct profile view of the object. This is due to the visual angle the
                                     Page 31 of80




                                                                          PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 32 of 80




object is being viewed from, by the person trying to make the determinations. In
this case, Le was wearing a black shirt, at night and was rushing toward Deputies
with an object in his hand. The primary differences between the photos above
and the incident herein are: 1) these photos were taken in the bright light of day
and not in the darkness of night; 2) the use of flashlights by the Deputies; 3) the
photos were taken at less than three feet distance whereas Deputies were
approximately 20-25 feet away from Le; 4) there are no life or death
consequences attached to examining the photos whereas Deputies were under a
perceived deadly attack by Le; and 5) the final and most important aspect, these
photos are completely static without any movement whatsoever whereas Deputies
were faced with Le, a violent and aggressive individual, who they believed was
trying to kill them with what they perceived to be a deadly weapon.

68.    In the incident, at one point, Deputy Molina was 20-25 feet away, in a
dark environment with only street lighting. Deputy Molina was not using a
flashlight due to his use of the Taser, and his quick transition from his Taser to
his firearm. As described by Deputy Molina in his deposition transcript, there
was no time for Deputy Molina to retrieve and operate his flashlight, let alone
enough time for him to utilize the light on his duty weapon.

69.    With relevance to the determination of whether or not Le is brandishing a
weapon in hand, verses an unknown object, viewed as benign, by those who may
not have the training or experience in dealing with a subject with malevolent
intentions; peace officers do not have the time to consider all the potential
variations of knives or other potentially deadly weapons. Simply put, not all
edged weapons are silver. Knives come in a variety of colors shapes and sizes,

                                    Page 32 of 80




                                                                       PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 33 of 80




 including black. Further, the.implement could be one of many different types of
 potential deadly weapon based upon its size and shape. For instance, ice picks,
 screwdrivers, and even pens may have the same approximate shape and size and
may all be utilized as a potentially deadly weapon. Deputies do not have time to
consider all of these many possibilities when events are rapidly evolving under
the compression of time. Moreover, some innocuous appearing items may be
deadly weapons in disguise. For instance, the item pictured in photograph (g) is a
pen that has been specifically designed as a penetrating weapon and most
"tactical pens" of this type are black in color, although the tactical pen pictured
here is gold in color. A tactical pen such as this can be used in an offensive
manner and, if used in such a manner, could certainly cause death or serious
bodily injury. When viewed in a dynamic, evolving and time compressed
environment such as this incident, a tactical pen could not be easily identified
from a regular ballpoint pen. And, again, even a ballpoint pen has the potential to
be used in a manner that could cause death or serious bodily injury. In fact, based
on additional research there are three recent cases in the news where a subject
used a pen as a weapon and was arrested for assault and battery.

70.    These examples demonstrate that, no person, regardless of their area of
expertise, can make a statement or a judgment that the Deputies should have,
could have or would have been able to tell that Le was holding a ball point pen
rather than a knife under the compression of time.

71.    Any statements that the object in Le's hand was a plastic pen were made
after the fact, as the scene was made safe and additional facts were uncovered
during the investigation. Any additional forensic evidence identified at the scene

                                    Page 33 of80




                                                                       PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 34 of 80




 of this incident, i.e., toolmarks on the door of victim's home, location of evidence
at the shooting scene etc., is not evidence that can be used in hindsight to evaluate
the Deputies' decisions that were made at the time of the use of force. This
information learned only after the fact was simply not available to the Deputies at
the time of the actual incident.

 72.    Movement dynamics. In terms of time, distance, speed and motion, in
order to make exact and precise determinations, or establish exact micro
timelines, with respect to Le's movements during the incident, and/or the
interplay between Le and the Deputies during the incident, an investigator must
have precise evidence providing exacting information to support statements made
by the involved parties. This type of evidence would include video footage,
photographs, matching foot prints, etc., any evidence to put a specific person in a
specific location at a specific point on the timeline. Albeit, a crime scene is
chaotic and unprotected, so this requires understanding that even physical
evidence does not necessarily stay in the exact location it was at during the event.
Regardless, in this particular incident, we do not have any empirical evidence of
human location or movement during the incident. We only have best guess
information, which is based upon the t~stimony and statements of the involved
parties, including the Deputies, the witnesses and the victim. Any evidence
available in this case is designed solely to make best guess determinations
regarding the incident after the fact, and these findings are subjective. This type
of forensic evidence is not exact regarding anything other than the location of
evidence that existed after the event ended. For instance, the location of blood
evidence, the location of other physical evidence such as shell casings, and the
location and nature of any potential deadly weapons that were used, remains on
                                    Page 34 of80




                                                                       PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 35 of 80




 scene and in the exact location it occurred, this data is exact. However, the
 dynamic interaction and movement of individuals within that scene, in regards to
time, distance, speed and motion, remain best guess information. Notably, any
difference in relationship of a few feet, or even a few inches, with respect to
location and movement, can drastically impact the forensic findings in a dynamic
cnme scene.

 73.    Related Inconsistencies. There are inconsistencies in distance,
movement and action details, with respect to the actual shooting and the
deployment of Deputy Owens' Taser. Deputy Molina stated that Deputy Owens
deployed his Taser before Deputy Molina made the decision to draw his firearm
and subsequently fire shots to stop Le. What is significant about this statement is
that Deputy Molina stated that Le was moving "fast" during this portion of the
encounter. This statement tells me Deputy Molina was focused on Le, not
Deputy Owens. I believe Deputy Molina observed through peripheral vision that
Deputy Owens was deploying his Taser, however this shifting focus of attention
is common and happens to all human beings. This inconsistency in details during
the dynamic interaction of three individuals is not an abnormal occurrence in a
critical incident, such as this one, where things are happening quickly. Deputies
are expected to give an accurate account of all aspects of the incident, in perfect
chronological order, while being expected to give the same perfect account of
issues related to survival, i.e., position of the subject, potential weapons, decision
making process; which is considered visual stimulus, backdrop, verbal
commands, attempting to make accurate shots, making determinations about the
change in the threat, locations of other people, geographical issues related to


                                     Page 35 of80




                                                                        PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 36 of 80




 movement, etc. The cause of these inconsistencies in statements and memory are
not restricted only to law enforcement personnel, they affect all human beings.

 74.     Focus of Attention. Attention is the behavioral and cognitive process of
selectively concentrating on a discrete aspect of information, which can be either
subjective or objective, while unable to attend to other perceivable information. It
is the taking possession by the mind, in clear and vivid form, of one object out of
what seems to be several simultaneous objects or trains of thought. Focalization
and concentration of consciousness are at the core of what constitutes "attention."
Attention has also been referred to as the allocation of limited proc'essing
resources. (Anderson, 2005).

75.     Thus, by Deffenbacher's (1994) integrative theoretical formulation, if a task
elicits the arousal mode of attention control, then memory will be enhanced for the
most informative aspects of the stimulus display, those aspects on which the
orienting response is focused. If, on the other hand, a task elicits the activation mode
of attention control, then memory will either be modestly enhanced or drastically
reduced, depending on the relative amounts of cognitive anxiety and physiological
activation present. (Kenneth A. Deffenbacher); (Anderson, 2005).


76.     An investigator must be able to decipher whose focus of attention yields
the most accurate information. Here, the most accurate information would most
likely come from the perspective of Deputy Molina, as he was the person most
directly involved. At the moment of contact with Le, Deputy Molina was most
likely focused intently on the potential deadly threat being posed by Le (see
Deputy Molina's statements). When other aspects come into play, such as
movement and positioning, that information could be inaccurate due to the human
                                    Page 36 of80




                                                                       PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 37 of 80




 limitation of focus of attention. Perceptual distortions are at work in every
 critical incident, however, they are not the same for every person. Understanding
the limitations a human being experiences in a critical incident is paramount.
This is not a blanket excuse for poor tactics, negligence or inconsistencies.
However, this does not make an inconsistency a lie, it doesn't make a particular
persons account any more viable over another person's account. All information
must be looked at in a balanced manner.

 77.    Shell Casings Ejection Patterns. The following is information associated
with the study of shell casing ejection patterns. This study was conducted using
7670 rounds, fired by 48 different officers with 7 different models of firearms, in
11 different positions (grips, angles and movements of the weapon). In this study
there was no movement of the test subject being fired at in any direction.
However, there was movement of the firing position, i.e. sweeping left or
sweeping right, and canting or angling of the firearm. In general, the study shows
that rounds eject to the right and rear of the ejection port. The position of the
firearm has a distinct effect on where "right and rear" is, in relation to the position
of the weapon. Notwithstanding the foregoing, movements during the incident
cannot be considered as absolute in conjunction with the data generated by the
shell casing ejection study. In order to compare this study to this incident you
would have to replicate movement in the subject firing the weapon. In this case
particularly, based upon statements _?Y Deputy Molina, Deputy Molina fired his
weapon while Le was charging toward deputies and while Deputy Molina was
physically moving to keep distance from Le and avoid being struck by Le.




                                     Page 37 of80




                                                                        PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 38 of 80




 78.     Q You're sure thatwhenyoufirstfiredyourweapon Le's back was not
 towards you? A When I first fired my weapon, he was coming towards me. Q
 When you last fired your weapon, Le was to the side ofyou; is that correct? A
To the side, yes. So for reference points on the drawing, I back-stepped, I guess,
south and out of the way. And I ended up, I guess, facing somewhat to the west
and he was about right here. When Le was moving towards you, you moved
back? A Yes, to create distance. Q Distance? Le then started to run to the -- the
southwest? Q Would you be able to use your pen to make an arrow in the
direction he was running cifter you moved out of the way? THE WITNESS: I
didn't have the viewpoint at the time. That's something that Deputy Thompson
was     able to see, but I was not able to see that. Like I said, maybe could've been
an arm -length, but all I can say is probably between one foot to two, because I
was     backpedaling, taking a step back. When you first fired your gun, Tommy Le
was approximately how far from you? An approximation would be between three
to five feet, somewhere around that range. (Deputy Molina deposition, page 72.)

79.     The primary finding in this study is that there is no way to predictably
determine where an officer (or an offender) was standing based on the ejected
shell casing alone. The exact location of shell casings has no bearing on the
position of Deputy Molina with any scientific exactification. (William J.
Lewinski P. W., Volume 2, Number 3, November 2010)

80.     Movement and time compression. In the final moments of this rapidly
evolving event, Le advanced toward Deputy Molina, in a perceived deadly attack.
In examination, the initial step in a sprinting or forward charge can be completed
in an average of (.37) of a second and cover 3.32 feet. In the time it takes to

                                     Page 38 of80




                                                                       PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 39 of 80




 complete a second stride, (.65) of a second, Le could have effectively covered
 7.08 feet and approximately 25 ft in 1.67 seconds. The exact distance between Le
 and the Deputies (Deputy Molina) is not known. However, the distance was
 stated as being approximately 20-25 feet between Deputy Molina and Le. Deputy
Molina made the decision to use a Taser first to stop Le's actions in an effort to
use a lesser level of force, in defiance of the fact that Le was a perceived deadly
threat. Based on statements, after first attempting to use the Taser, which was
unsuccessful, Deputy Molina then made the decision to use deadly force based
upon the actions of Le and the information known to the Deputies, all of which
led to the perception that the forward movement by Le, towards Deputy Molina,
while brandishing a perceived weapon was an immediate and deadly attack.

 81.       Please refer to the sprint grid below for step distance and associated
times.
Fo1wards                                    1st Stride    2nd Stride      3rdStride     4th Stride      5th Stride    ~
           Individual Stride Length (ft)    3.32 (0.37)   3.77 (0.36)    4.07 (0.36)    4.43 (0.46)    4.86 (0.59)    5.22(0.691
           Ctunulative Stride Length (fl)   3.32 (0.37)   7.08 (0.65}    11.21 (0.99)   15.60 (1.36)   20.49 (1.88)   25.72(251)
             Individual srep Tone (s)       0.34 (0.09)   0.31 (0.04)    0.26 (0.02)    0.26 (0.02)    0.25 (0.03)    0.'.!5 (0.03)

            Cllllllllative Step Time (s)    0.34 (0.09)   0.65 (0.09)    0.91 (0.10)    1.16 (0.10)    1.42 (0.12)    1.67 \0.14)

              Snide Vebcity(~h)             6.96 (1.25)   10.07 (1.27)   10.96 (1.41)   12.12 (1.52)   13.42 (2.08)   13.22 (l.52)



(William J. Lewinski D. A., 2016)

82.        Fact. Please note: There is no definitive measurement in terms of exact
positioning of any individual in this incident. Additionally, there is no precise
information regarding how quickly Le was moving forward or how quickly
Deputy Molina was moving backwards. Le 's movements were described as a
fast-paced walk and as a sprint in different statements, based on these statements I
would speculate the forward movement might have been less than a full sprint

                                                    Page 39 of80




                                                                                                        PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 40 of 80




 and faster than a normal walking speed or a "jog" or "trot", considering that
 different perspectives and focus can affect judgement on speed and motion.
 However, the statements of the deputies and other witnesses to the event
 conforms to a reasonable degree of accuracy in the distance being approximately
20-25 feet between Deputy Molina and Le during the initial contact. The
information in the official human movement study (sprint study) simply identifies
how quickly an adult male can cover the distances described by Deputy Molina.
These increments of time also interplay with the time Deputy Molina had
available to transition to his firearm from his taser and to fire six rounds in rapid
success10n.

 83.    The recorded interviews with witnesses all reflect a shot cadence of
approximately .25 seconds per round fired. All witnesses state the shots were in
rapid succession. This is common in a peace officer who is shooting to save his
or her own life, and is reflected in the research studies.

84.     Analysis related to opinions. Once Deputy Molina initially contacted Le,
the incident became intense very quickly due to the actions of Le, which are
stated in the case facts and reflected in this report. Due to Le's unpredictable and
violent physical behavior prior to officer's arrival and then during the contact
with Deputies, the incident became time-compressed for Deputy Molina and
Deputy Owens which ultimately influenced the decisions Deputy Molina made
about his- own ability to successfully subdue and control Le as well as survive the
perceived attack.

85.      In the "Police Officer Reaction Time to Start and Stop Shooting: The
Influence of Decision-Making and Pattern Recognition" study, which provides
                                     Page 40 of80




                                                                       PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 41 of 80




empirical data on the time required to start and stop shooting a firearm, based
upon perception, reaction and response, it is documented that in response to a
simple stimulus, with no decision making involved, the time to perceive the
stimulus, react, and respond by pulling the trigger to fire a round from a firearm is
approximately .31 seconds, including the mechanical element of pulling the
trigger. This is referred to as perception, reaction and response. In the same
study, with simple go/no go, i.e. shoot/don't shoot, decision making added to the
count, adds an approximate additional .25 second. Thus, the reaction time
increases to an average of .56 seconds. This study was conducted with the gun out
of the holster and held on target. This study differs from the incident dynamic of
having to draw the weapon and fire 6 shots as in this case, with critical levels of
stress and anxiety and low light levels present in this incident.

86.    Based on the above study, with simple go/no go or shoot/don't shoot
stimulus, it takes a human being an average of .56 seconds to decide to pull the
trigger of a weapon and follow through with the act of pulling the trigger. This is
a research project conducted in the sterile and safe environment of a laboratory
setting. This number can vary with complex stimulus, especially with the
consequences of life or death associated with the decision. Also, this is an
average, some test subjects were considerably faster and some were much slower.

87.    Movement time study




                                    Page 41 of80




                                                                      PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 42 of 80




           Table 2. Movement Time Results for Tactical Ready Positions
            Handgun Position                                         Mean (SD)        Max        Min
            (1) Weapon on Target, Indexed Finger                     0.51 (0.15)      1.36       0.25
            (2) Weapon on Target, Finger on Trigger                  0.37 (0.09)**    0.96       0.20
            (3) Weapon on Target, Indexed Finger, 3 Round Burst      0.44 (0.15)      1.43       0.15
            (4) Weapon on Target, Finger on Trigger, 3 Round Burst   0.38 (0.13)*     1.24       0.10
            (5) Weapon in Holster, Snapped                           1.82 (0.31)      2.93       1.29
            (6) Weapon in Holster, Unsnapped                         1.68 (0.27)**    2.61       1.17
           (7) Weapon in Holster into Combat Tuck                    1.44 (0.31)-     2.77       0.73
           (8) Low-Ready, Indexed Finger, Aim                        0.97 (0.19)      1.71       0.50
           (9) Low-Ready, Indexed Finger, Point                      0.64 (0.10)**    1.02       0.42
           (10) High Ready, Aim                                      0.83 (0.20)      1.46       0.44
           (11) Close Ready, Aim                                     1.03 (0.20)      1.72       0.64
           (12) Close Ready, Point                                   0.74 (0.11)**    0.87       0.52
           (13) Belt Tuck, Aim                                       1.02 (0.21)      1.75       0.68
           (14) Weapon in High-Guard, Aim                            1.13 (0.23)      2.22       0.62
           (15) Weapon in High-Guard, Point                          0.73 (0.12)**    1.07       0.49
           (16) Weapon in Bootleg, Aim                               1.32 (0.20)      1.88       0.87
           (17) Weapon in Bootleg, Combat Tuck                       0.93 (0 .19)**   1.54       0.55
          Shotgun Position                                           Mean (SD )       Max        Min
           (18) Port                                                 1.28 (0.48)      2.88       0.79
           (19) Low-Ready                                            0.99 (0.20)      1.35       0.63
          (20) High-Read y/Modified Port                             0.84 (0.17)      1.15       0.65
            *p < 0.05
          **p < 0.01



88.    Bringing all of the numbers together and into context. The average time
necessary for Le to cover the distance of 20-25 feet, described by Deputy Molina
is approximately 1.70 seconds (see speed grid sec. 71). Decision time is
approximately (.56 seconds. section 75). The time to holster the Taser (2.0
seconds, approximate), and draw his firearm from a snapped holster (avg. 1.82
seconds section 77) fire 6 shots (approximately 1.25 seconds section 85). *Based
on these average time frames, and the approximate distances established from
what I believe are reliable statements, the first shots would have been fired
approximately 4 seconds into the perceived attack. These shots would also likely
have been fired as Le was passing Deputy Molina. The three shots that struck Le
would have. been to the side and back at an angle as Le moved quickly past
Deputy Molina running towards other deputies and civilians. The shots that
struck Le in the back indicate an angle from left to right at an upward angle. This

                                               Page 42 of80




                                                                                             PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 43 of 80




 shows that the shots fired by Deputy Molina were not fired directly at his back.
 These shots appear to have been fired as Le ran past Deputy Molina, and was
 leaning forward or falling to the ground. Notwithstanding, this is not an anomaly
considering the ongoing threat Deputy Molina was responding to. After Le went
to the ground he continued to move and attempt to get up. Deputies handcuffed
Le to subdue him. ( *research projects are peer reviewed and accepted as approved scientific
methodology and published as journal articles)


 89.     When an Officer/Deputy is confronted with a deadly threat such as the
perceived threat posed by Le in this incident, and the need to respond with deadly
force is necessary for survival, a certain amount of time is allocated to the
perception of the threat and an additional amount of time is necessary to evaluate
the stimulus, i.e., the weapon in hand etc. Considering the information derived
from the studies referenced herein, there are the primary components playing a
role in this incident. Primarily, the perception reaction and response time to the
stimulus of seeing an object in Le's hand. The fractions of a second to evaluate
the context of Le's actions and to determine the forward attack is happening.
Additionally, the time it takes for Deputy Molina to holster his taser and draw his
firearm, the time it takes Le to cover the 55-60 feet, and the time for Deputy
Molina to fire 6 shots from his duty weapon. Ancillary components related to
the timing issues are, the time Le ran past Deputy Molina as the initial shots are
fired (approximately 3.8-4.0 seconds), the time it took Deputy Molina to detect a
change in the threat posed by Le as Le began to go down to the ground. And the
.35 seconds it takes on average to stop shooting. (Christa Redmann, 2009)

90.     In relationship to a timeline in this event, it is never going to be a precise
representation of the occurrence. In my expertise in human performance related
                                             Page 43 of80




                                                                                   PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 44 of 80




 to law enforcement and the years that I have been investigating and analyzing use
 of force incidents, without corroborating evidence to verify an uncorrected and
 actual timeline, the best we can do as investigators is estimate, from the science
that exists, a general timeline to determine the reasonable accurateness of
statements made by involved deputies, witnesses and victims.

 91.     The research in movement dynamic provides us with the following data;
Decision time, average (.56 seconds), drawing of a weapon from a retained
position average (1.82 seconds), holstering a Taser, estimate (2.0 seconds), and
fire six rounds from a Glock handgun (1.25-1.50 seconds). It must be understood
that these micro events may not have occurred in linear fashion, but may have
occurred in concert with one another to certain degree, especially the drawing of
the firearm and the holstering of the Taser. This gives Deputy Molina
approximately 4.0 seconds to attempt to deescalate with a lesser use of force
(Taser), identify the Taser was ineffective, begin to create distance, draw his
firearm, holster the Taser, and subsequently fire 6 shots in an attempt to stop Le.

92.     Le took an estimated 5.00-6.00 seconds to cover the approximate distance
described by Deputy Molina. The evidence that shows where Le came to rest on
the ground, approximately 55-60 feet as an estimated measurement based on
scale, see diagram below. The times listed above reflect an approximation based
on averages of empirical research data totaling 5.63 seconds, for the event to
begin, when Le began to move towards deputies, and end, based on the actions
that we know happened with Deputy Molina and the results of those actions.
These two estimates are very close, within .50 seconds. Finally, the sequence of



                                    Page 44 of80




                                                                      PLTF EXHIBIT B
      Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 45 of 80




Deputy Molina's shots in relation to Deputy Owens deploying the Taser. As a
note, all accounts say that Le was not affected by the Taser deployment.

93.     Deputy Owens' decision to deploy his Taser appears to have happened
approximately the same time Deputy Molina decided to shoot, based on
statements and approximate locations to include trajectory reflected in the bullet
path of travel, through Le's torso. Witness Bohna stated she heard only one taser
and then heard gun shots. This is not illogical based on the fact that the
deployment of the Taser, pulling the trigger takes about a tenth of a second, the
shots fired by Deputy Molina took approximately 1.5 seconds. There is a very
strong probability those two actions were happening at or near the same time
within 10ths of a second.

94.    The diagram in the next section is for distance estimates to associate with
movement and time frame approximation.




                                   Page 45 of80




                                                                      PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 46 of 80




             - -
20 ft




                                  Page 46 of80




                                                               PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 47 of 80




 95.      The average cadence of gun fire in a .scenario where a Deputy is firing a
 weapon in response to a rapidly evolving threat is an average of .25 seconds per
round fired. This reflects an average of approximately 5 rounds fired in 1 second.
 See table 2 below. (Jason, 2010)


 Table 2. Experienced Shooter #1
 A.J.
 Firearm: Glock 19
 Caliber: 9mm
 No. of Shots            7                   7                7              5
 1                       0.00                0.00             0.00           0.00
 2                       0.24     0.24       0.21      0.21   0.22    0.22   0.21     0.21
 3                       0.40     0.16       0.49      0.28   0.38    0.16   0.35     0.14
 4                       0.71     0.31       0.64      0.15   0.55    0.17   0.52     0.17
 5                       1.00     0.29       0.80      0.16   0.78    0.23   0.66     0.14
 6                       1.17     0.17       0.95      0.15   0.93    0.15
 7                       1.33     0.16       1.11      0.16   1.08    0.15
 Total Time First to Last Shot    1.33                 1.11           1.08            1.33


                                                       ~
 Average Interval                                                     0.18
 Rounds Per Second (RPS)         dfu5                    1           ~.56)           @
96.      Deputies who are both shooting and assessing will likely give more
concentration and attention to one aspect over the other. The activity with the
lower level of attention or effort is the one that will suffer or be less sensitive and
reactive to changes. For instance, an officer who is shooting to stop the threat and
is intently focused on accurately shooting or, on the other end of the spectrum, an
officer who is emotionally recoiling at the thought of his or her own apparent and
imminent death and is intently shooting to save his or her own life are both going



                                        Page 47 of80




                                                                         PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 48 of 80




 to be impaired in their ability to perceive and respond immediately to changes in
the subject's behavior. (Christa Redmann, 2009)

 97.     When shooting, police Deputies are usually engaged ina continuous
action, which Morein-Zamir, Nagelkirke, Chua, Franks, and Kingstone (2004)
found to be strongly correlated with the stopping observed in the stop signal
paradigm. Green (2000), however, found something very different. He
investigated the research on stopping reaction time from a continuous action in
more "real world" circumstances when he conducted a review of the literature on
braking reaction times with drivers in automobiles or simulators-a slightly
different form of stopping. He found that under expected conditions, reaction
time to begin braking was between 0.70 to 0.75 seconds, while under unexpected
conditions, reaction time was 1.5 seconds or longer {pp. 206, 209). This rather
large disparity between 0.20 and 0.70 or even 1.5 seconds may be attributable to
the differences between studies conducted in pure laboratory conditions that
isolate a specific phenomenon compared to real-world research which involves a
variety of phenomenon, including attentional problems and automatic motor
programs that are difficult to interrupt or control for in real-world studies but are
usually controlled for in a laboratory study. (Christa Redmann, 2009)

98.     What has become clear is that Deputies from the same department with the
same training and guidelines will respond differently in lethal force encounters
and will start and stop shooting at different times. This is due to different
perspectives and situational awareness. Deputy Owens, also attempting to stop
Le's forward attack with his Taser, made the statement that he had decided to use
deadly force, but by the time he had drawn his weapon, shots had already been

                                     Page 48 of80




                                                                        PLTF EXHIBIT B
       Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 49 of 80




 fired and Le had fallen near his feet. It is my belief based on timing issues and
the window of time when shots were fired that Deputy Owens fired his Taser at
or near the same time as Deputy Molina fired his first shots.

 99.     Another consideration in this case is the number of rounds fired during the
attack. Deputy Molina stated Le was facing him when he began to fire his
weapon. The decision to shoot was made while Le was facing Deputy Molina.
Based on the time it takes to perceive, react and respond by pulling the trigger,
"perceptual delay,".31-.56 seconds, Le has moved approximately 4.86 - 5.22 feet
before the first shot is taken after the decision is made (JENNIFER L.
DYSTERHEFT, 2013). ;\t this point the first shots fired would be as Le is past
Deputy Molina. Considering the distance estimates and timing issues, the last
three shots that struck Le were fired in approximately .7 5 seconds with Le
traveling an additional IO feet approximately before falling to the ground.

100.    Section conclusion. Due to the critical nature of this incident, based on the
approximation of time, distance, speed and motion of Le; Deputy Molina and
Deputy Owens, had limited time to take action, analyze the incident, and develop
alternative plans with regard to an infinite number of possible contingencies in
response to an infinite number of unknown actions by Le. In this type of critical
situation, and dangerous contact where Le was acting in an unpredictable manner,
Deputy Molina was forced to react to Le's actions with a tactic that Deputy
Molina believed would have the highest level of success based upon his
reasonable perceptions. In this situation, Deputy Molina was required to act
quickly with limited options for an optimal outcome in protecting himself, other



                                    Page 49 of80




                                                                      PLTF EXHIBIT B
         Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 50 of 80




deputies and the community, all of whom were in close proximity to Le during
the forward charge.

 IO I.     Prior to the Opinions section, please note, the information in this report
has been carefully considered with a balance between "fact" and "perception." I
have noted both, consistencies and inconsistencies discovered through a complete
review of the information and data available to me in this case. As mentioned,
there are certain aspects of the data that are factual, discovered after the incident,
that no person could know definitively, without the ensuing investigation and
analysis of all materials. This includes research of the geographiq location,
thoughtful consideration of all statements, consideration of applicable research
data, forensic and physical evidence from the scene and reports generated from
other entities. Please see the "methodology" section after the "opinions" section
to get a clear understanding of the application of specialized knowledge from the
perspective of this expert.




                                       Page 50 of80




                                                                         PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 51 of 80




Opinions

 102.     Opinion. It is my opinion, as a professional in the field of force
 investigations and analysis related to law enforcement, that these types of critical
 incidents will generate statements from witnesses and involved parties that show
consistencies as well as inconsistencies. These inconsistencies are common and
not unreasonable because every human being who witnesses an incident like this
one, will witness the incident from a different perspective, which, in tum, means
each individual's account of the same incident will vary. These inconsistencies
can also be exacerbated by individual biases, including, but not limited to, their
understanding of the incident, their pre-existing knowledge, their distance from
the occurrence, the lighting and shadowing where they are located, and visual
acuity. However, within these statements there will also be a common thread of
information related to the event.

 103.    Some of the common threads in this case are as follows: 1) Witnesses
heard Deputies verbally ordering Le to "stop," to "drop it," in an attempt to
control the situation; 2) Witnesses saw, heard and believed that the Deputies
attempted to stop Le with the use of a Taser prior to using deadly force, meaning
Deputies exercised multiple levels of force (verbal force, Taser and deadly force)
in an a~empt to stop Le; 3) Witnesses stated in some fashion that Le aggressed
Deputies, that he appeared to be agitated and that he either had an object in his
hand or he "acted" like he had an object in a clenched fist based upon Le's
aggressive movements, such as "flailing" his arms around; 4) Witnesses stated in
some fashion that the Taser deployments and verbal commands utilized by
Deputies were ineffective in de-escalating the scene, and that Le continued to

                                      Page 51 of80




                                                                        PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 52 of 80




rapidly aggress Deputies despite their efforts to stop Le. Witnesses stated the
following regarding verbal commands being given by Deputy Molina; "drop the
knife", "get on the ground" (Anthony Rice statement p. 13); "show us your
hands" (Deposition Kevin. Hernandez, p. 59; 11-12.) 5) Witnesses that remarked
on Deputy Molina's shot cadence, stated that Molina's shots were fired in rapid
successi,on, and the recorded versions of witness interviews reflect this fact
consistently; 6) No witnesses stated that Deputy Molina or Deputy Owens
continued to use force of any kind after Le went down as a result of being shot.

 104.    Opinion. It is my opinion that Deputy Molina was ultra-focused on the
threat posed by Le and Le's movements, as well as assessing the threat posed by
Le, not only to himself but others in the immediate area. In my opinion Deputy
Molina's situational awareness was demonstrated by the restraint shown in the
number of rounds Deputy Molina fired in total. Here, the time to stop shooting,
from the visual detection of a change in the perceived deadly threat posed by Le,
to the cessation of the firing sequence is an average of .35 seconds. For Deputy
Molina, who was shooting and assessing with a sharp focus of attention on the
threat, this comports to a minimum of one additional shot being fired after the
decision to stop shooting has been made. However, the average time for a Deputy
to cease firing after detecting a visual change by the suspect could be as long as
1.5 seconds or longer. Deputy Molina, by all accounts in this incident was highly
aware of his surroundings and his situational awareness appeared to be sharp.
The decision times discussed above in the analysis portion of this report are
reaction times to simple stimulus in sterile laboratory settings, well-lit with no
associated consequences, i.e., life and death. The associated time frames in the
capacity of real-life decisions, time compression and life or death consequences,
                                     Page 52 of80




                                                                       PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 53 of 80




 may add to the amount of time a Deputy requires to reverse the decision to shoot
because a Deputy in a life and death situation has been driven by survival
intuition in an incident such as this one. It is my opinion, based upon witness
statements and statements from those involved, that Deputy Molina was well
within the parameters of human performance as related to his reactions to the
actions of Le. There does not appear to any anomalies based on the statements
and the time Deputies had to respond.

 105.    Opinion; Perceived weapon. It is my opinion that, in a dynamic and
swiftly moving incident such as this, Deputies cannot be held to an arbitrary
standard of certainty or account of every detail of an incident when the potential
results are death or substantial bodily harm. Deputies in a rapidly evolving
critical incident like this one do not have the luxury of analyzing a static
representation of the incident, an object, or a particular action for the benefit of
optimal decision making. My opinion is that the context in which a Deputy is
perceiving volatile information guides the Deputy's decisions. As in the
examples of "object" in hand in section 61, it would take the average person more
than four (4) seconds to make a determination, with confidence, which
photographs contain an object that is considered a deadly weapon and which
photographs contain an object that is not a deadly weapon. This particular
determination is typically done with proper lighting, with no movement and with
no life and death consequences for being wrong, which is not the circumstances
the officers were faced with in this incident

106.     Opinion; actions comporting to training, GOM and existing research.
In my opinion, based upon statements made by Deputy Molina, as well as other

                                    Page 53 of80




                                                                        PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 54 of 80




 forensic evidence, that Deputy Molina's actions were appropriate, were in
 accordance with police and training standards, and were well-reasoned in
response to Le's actions given the human performance issues that are outlined
herein. Based upon articulable facts, circumstances and information known to
Deputy Molina at the time of the incident, Deputy Molina made the decision to
intervene in a deadly attack with the use of less than lethal force followed by the
use of deadly force. This decision was made to save his own life and the life of
his partner. It is my opinion that Deputy Molina made this decision within the
scope of Le's actions, that Le posed a deadly threat to Deputies, and civilian
witnesses, which is based upon Le's erratic and unpredictable behavior, the fact
that Le possessed a perceived weapon and the fact that Le charged at Deputy
Molina and Deputy Owens.

 107.    Opinion; Statements and Actions, inconsistencies and focus of
attention. Deputy Molina's ability to accurately recall the particular information
pertinent to the interests of those analyzing or investigating the incident, are not
necessarily what Deputy Molina's interests were at the critical moment force was
used. Positioning, distances, timing, and other significant information is not
exact and is not available as precise evidence for any interested party or for any
purpose. There is no exacting scientific data that can be applied to, or that is
considered to be "absolute," in these types of critical incidents where there is a
lack of visual or audible recorded data. However, the numbers reflected in the
referenced studies are reliable and testable, i.e:, produced by virtue of approved
and accepted scientific methodology, peer reviewed and published in the form of
scientific journal articles. Based upon the available forensic evidence and
statements from Deputies and witnesses, the available empirical data and theories
                                     Page 54 of 80




                                                                        PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 55 of 80




 outlined in this report; the overarching issues outlined above, appear to be
prudent and within reason for a Deputy, such as Deputy Molina, confronted with
this type of incident.

 108.     Opinion; De-escalation and GOM. It is my opinion that Deputies gave
every effort to de-escalate prior to the use of deadly force. De-escalation is
perilously misinterpreted and misunderstood by investigators, attorneys and peace
officers alike. In the case of law enforcement, de-escalation is a desired result
from actions taken by a person of authority, when feasible and time and
circumstances permit. De-escalation is not a specific tactic, but a composite of all
tactics, starting with officer presence. Peace officers are trained to start a contact
at the lowest level of force possible, based upon the nature of the contact itself. It
may be preferable to use verbal tactics as the lowest force possible, but only when
it is feasible under the circumstances. However, de-escalation is predicated upon
a subject's actions. If the subject is willing to acquiesce to verbal commands and
cease resisting, cease aggression and cease combativity, de-escalation has been
successful with the tactic of verbal commands. However, if the subject refuses to
obey verbal commands and the use of a Taser is ineffective in stopping a
subject's aggressive and combative behavior, now two levels of force have been
unsuccessful in de-escalating the situation, and now Deputies and civilians are at
a greater risk of death or substantial bodily harm. It is my opinion that Deputy
Molina and Deputy Owens showed extreme restraint by choosing to utilize verbal
commands and Tasers in an effort to de-escalate the situation without the use of
deadly force despite the fact that all of information available to the Deputies at
the time of the contact would support the use of deadly force at the onset of the


                                    Page 55 of 80




                                                                        PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 56 of 80




 contact. Notably, the use of deadly force by a peace officer is authorized in
response to a deadly threat or the threat o{ substantial bodilv harm.

 109.     A peace officer's decision to use force also has to be objectively
reasonable and for a lawful purpose (see also GOM Use-of-Force policy). In the
process of the lawful duty, and in the context of responding to a critical incident
where a violent offender has attacked members of the community, Deputies
intervene, bravely exercising the duty to protect others. However, Deputies never
lose the right to protect themselves from the perceived deadly threat posed by a
violent offender with malevolent intentions. In the effort to overcome a resistant,
aggressive and violent person for the purpose of protecting the community,
protecting other Deputies or self-protection, in order to affect an arrest, or to
prevent an escape, a Deputy is not required to retreat or experiment with lower
levels of force when a subject poses a perceived deadly threat. Here, all of these
elements were present in this situation, which are the defining reasons for the
application of deadly force.

110.     Opinion; Police Tactics. It is my opinion that the tactics used by Deputy
Molina appeared to be sound and purposeful. In the use of the Taser, Deputy
Molina closed the distance between himself and Le in an attempt to position
himself within the Taser's effective range. Based upon forensic evidence, there
appears to be two Taser prong wounds in Le. However, the Taser was ineffective
in stopping Le's erratic and aggressive behavior. The tactics that followed were
time compressed, and the estimated timeline appears to align generally with
distance estimates, the estimated speed of movements, the time available to



                                      Page 56 of80




                                                                        PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 57 of 80




 process decisions, and the time to effectively respond. These findings are not out
 of the ordinary for an intense encounter such as this one.

 111.     Opinion; Perceived Deadly Threat. It is my opinion that the perceived
 deadly threat posed by Le, at the time deadly force was used, was real and was
 legitimately perceived by Deputy Molina (see Deputy Molina's statements). The
 same deadly threat was also perceived by Deputy Owens, victim Zachry
 Schwiethale, witness and victim Kevin Hernandez (who also used a firearm in
defense of himself and his family during this incident).

 112.    Opinion; detection of a change in the threat. The fact that Le had run
past Deputy Molina prior to shots being fired is not the point that Le ceased to
pose a potential deadly threat toward Deputies and other victims and witnesses on
the scene. The perception of a deadly threat does not simply end with the
movements of the subject initiating the attack, i.e., Le running past Deputy
Molina as shots were fired. Le previously demonstrated violent intentions by
attacking civilians prior to the point where Deputy Molina became involved.
Even after Deputy Molina and Deputy Owens became involved, Le ignored the
Deputies' verbal commands to stop and drop the knife. Ultimately, Le continued
to behave erratically and aggressively up to the point that Deputy Molina and
Deputy Owens both perceived a deadly attack by Le towards Deputy Molina,
Deputy Owens and the civilians close by. In fact, Le's actions towards members
of the community constituted the commission of a violent felony.

113.     Under careful examination of all facts and evidence, considering the
totality of facts and circumstances through a full and articulate investigation and
analysis, an officer's use of deadly force is appropriate only if "the officer has
                                     Page 57 of80




                                                                        PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 58 of 80




 probable cause to believe that the suspect poses a significant threat of death or
 serious physical injury to the officer or others." (Tennessee v. Garner (1985) 471
 U.S. 1, 3.) Furthermore, "If police Deputies are justified in firing at a suspect in
 order to end a severe threat to public safety, the Deputies need not stop shooting
until the threat has ended." (Plumhoff v. Rickard (2014) 134 S.Ct. 2012, 2022.)

 114.    Summary of Opinions. Note: None of my opinions are intended to usurg
the province of the jury and are not stated as ultimate issues. Rather, my opinions
involve the consistency of the Deputies' actions with standard police practices
regarding human performance factors. including response time and related
scientific based force issues. that may educate non-police about the perspective of
the Deputies under the circumstances that they faced at the time force was used.

 115.    To properly understand the perspective of Deputy Molina and Deputy
Owens under the totality of the circumstances facing the Deputies during this
incident it is important to understand how training, perceptions, reactions, and
related performance factors affected the Deputies' decisions regarding the use of
force.

116.     Basis of Opinions. My opinions in this case are based upon my training
and, as a policy writer in Use-of-Force, experience as a police officer, experience
as a Use-of-Force Training Officer, experience as a force investigator, as well as
my background in analyzing force as it relates to officer/subject interactions,
studies and teachings on the subject matter of Use-of-Force, human performance
factors and human performance, and, previous use-of-force case review and
analysis, including any applicable pre-seizure conduct that may have led to the
use of force; as well as my review of the records identified herein above.
                                     Page 58 of80




                                                                       PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 59 of 80




 117.     This report is particularly focused on the police procedure and the use-of-
 force applied by Deputy Molina, as it relates to human performance factors that
may illustrate the Deputy Molina's perspective in the use of force decision-
making process. In this case, I primarily looked at the dynamics of the decision-
making process of Deputy Molina, as relevant to the associated human
performance factors in relation to time compression. I comment on police
procedure and common police practice in order to explain how procedure and
practice influences the decision-making process and/or human performance
factors in relation to Deputies' performance as human beings when involved in a
highly critical incident and in a time of crisis.

 118.    Conclusion. It is my conclusion, based upon the materials presented,
coupled with my specialized education, training, and experience as a 22-year
P.O.S.T. Certified Police Officer, holding an Advanced P.O.S.T. Certificate as a
Police Training Sergeant, and a Use-of-Force Investigator, as well as my
continued research and review of police operations and use-of-force incidents as a
court recognized subject matter expert, in conjunction with the information
available to me in this case, that the actions of Deputy Molina are consistent with
standard police practices, policies, the General Order Manual and department
training.

119.     Supporting this conclusion is research of existing case law, review and
comparison of all statements, recorded and transcribed, and existing research
data. Based on this research and review, the initial contact with Le was also
consistent with standard police training, reactions, human performance factors,
and procedures. Based upon the totality of circumstances described herein,

                                     Page 59 of80




                                                                       PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 60 of 80




 Deputy Molina's decision to use deadly force was in accordance with policy and
training standards. With respect to human factors and performance issues, Deputy
Molina would not have had time to reassess the perceived threat posed by Le in
order to make an alternative force decision. Furthermore, the dynamic shift in
movement would not be considered any less of a threat based upon the fact that
Deputy Molina was in the midst of a deadly physical attack when a decision was
made to respond with deadly force, and that others were potentially in danger.

 120.    Factors considered in deeming my opinion that the use of force herein was
appropriate are as follows: Deputy Molina's response based on the actions of Le
during the initial contact with Le; the subsequent behavior of Le as he attacked
Deputy Molina; and the fact that Deputy Molina reasonably believed that Le was
attempting to kill or severely injure him. I am not tasked with identifying
potential truthfulness issues in the statements reviewed and do not offer any
opinion on the truthfulness of the interviews or the accuracy of the transcribed
documents that I have reviewed. At the time of this report, I have no other source
of information other than those supplied to me in reference to this incident. I have
reviewed reports and documents supplied to me as identified herein above.

121.     Right to Amend: I reserve the right to amend this report. It is my
understanding that additional materials may be in the process of being produced
or may be requested later. I reserve the right to submit a supplemental report
should any subsequent information be produced that may materially affect or alter
any of these opinions.

Thank you,


                                     Page 60 of80




                                                                      PLTF EXHIBIT B
     Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 61 of 80




 James W. Borden
          u) 8tt~
rw~24,:w19
Attachments:

Items recieved

Visual focus example




                               Page 61 of80




                                                            PLTF EXHIBIT B
         Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 62 of 80




   Works Cited

 Anderson, J. R. (2005). Cognitive Psychology and Its Implications. Macmillan.


 Christa Redmann, B. L. (2009). New Developments in Understanding the Behavioral Science Factors in
         the "Stop Shooting" Response. Law Enforcement Executive Forum• 2009 • 9(4), 35-36.


Dr. Bill Lewinski, P. (2000, December). why is the suspect shot in the back. Police Marksman, pp. 20-28.


Fackler, E. J. (2008). OFFICER REACTION - RESPONSE TIMES IN FIRING A HANDGUN.
        JOURNAL OF THE INTERNATIONAL WOUND BALLISTICS ASSOCIATION, 6-9.


Hope, L.B. (2015). Memory and the Operational Witness: Police officer recall of firearms encounters as a
        function of active response role. Law and Human Behavior.


Jason, A. (2010). Shooting Dynamics: Elements of Time & Moveme~t in Shooting Incidents. ISJ
        (investigative sciences journal), 6-8.


JENNIFER L. DYSTERHEFT, W. J. (2013). The Influence of Start Position, Initial Step Type, and Usage
        of a Focal Point on Sprinting Performance. International Journal ofExercise Science 6(4) : 320-
        327, 2013.


Kenneth A. Deffenbacher, 1. B. (n.d.). A Meta-Analytic Review of the Effects of High Stress on
        Eyewitness Memory.


Lorraine Hope, U. o. (2016). Witnesses in action: The effect of physical exertio non recall and recognition
        . Psychological Science, 23(4) 386-390, DOI: J0.1177/0956797611431463.




                                                 Page 62 of80




                                                                                         PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 63 of 80




MICA R. ENDSLEY, 1. T. (n.d.). HUMAN FACTORS, 1995, 37(1), 32-64 Toward a Theory of Situation
        Awareness Dynamic Systems.© 1995, Human Factors and Ergonomics Society. All rights
        reserved.


Nathan C. Meehan, C. S. (n.d.). Behavioral Indicators During a Police Interdiction. (V. 2. Rapid Reaction
        Technology Office 5611 Columbia Pike Falls Church, Ed.) Naval Research Laboratory.


William J. Lewinski, D. A. (2016   HHJI   14-17-May). Falling Subjects and the Use of Force. The Police
        Chief Magazine.


William J. Lewinski, P . W. (Volume 2, Number 3, November 2010). FIRED CARTRIDGE CASE
       EJECTION PATTERNS FROM SEMI-AUTOMATIC FIREARMS . Investigative Sciences
       Journal.




                                                 Page 63 of80




                                                                                          PLTF EXHIBIT B
         Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 64 of 80




            Attachment: List ·of all case files and documentation

 Cesar Molina.pdf                                           Det. Do FU Report (11-2-17).pdf
 Deputy Benjamin Blakeman.pdf                               Det. Escobar FU Supplemental Report (9-18-17).pdf
 Deputy Paul Thompson. pdf                                  Det. Glasgow FU Supplemental Report (9-15-17).pdf
 Detective Christopher Johnson.pdf                          Det. Hawkins FU Supplemental Report (9-15-17).pdf
 DEFOE REPORT w CV, fee sched, & prior testimony            Det. Hiemstra OWS Statement (7-5-17).pdf
 attach.pdf                                                 Det. Johnson Case Overview.pdf
 HARMENING REPORT w CV, prior test, &                       Det. Johnson FU Report (10-25-17).pdf
 invoice.pdf                                                Det Johnson FU Report (10-5-17).pdf
 HAYES & ASSOC. REPORT w CV, fee sched, & prior             Det. Johnson FU Report (4-04-18).pdf
 test.pdf                                                   Det. Lamothe FU Report (6-14-17).pdf
 Amended Complaint.pdf                                      Det. Mellis FU Supplemental Report (9-15-17). pdf
 Cl7029405 Van Nguyen.MP3                                   Det. Merclich FU Supplemental Report (6-14-17).pdf
 Cl 7029405 Zachary Schwiethale 2.MP3                       Det. Olmstead FU Supplemental Report (9-18-17). pdf
 Cl 7029406 Benjamin.MP3                                    Det. Pedersen OWS Statement (6-19-17).pdf
 Cl 7029406 Bohna.MP3                                       Detailed History for Event #Kl 7195020.pdf
 Cl 7029406 Delsie Baumgardner.MP3                          Detailed History for Event #Kl 7195022.pdf
 C 17029406 Foster, Jaime.MP3                               Detailed History for Event #Kl 7195025. pdf
 C17029406 Foster, Neil.MP3                                 Detailed History for Event #Kl 7195501.pdf
 Cl 7029406 James Cradle.MP3                                Detailed History for Fire Incident #UFl 70004383 for 6-
 Cl 7029406 Kamron Obrien.MP3                               28-17.pdf
 Cl 7029406 Rice, Anthony.MP3                               Diagram of Shooting Incident - Dep. Blakeman (6-14-
 C 17029406 Rice, Lawrence.MP3                              17).pdf
C 17029406 Rice, Sandra.MP3                                 Diagram of Shooting Incident - Dep. Cotchleovitch.pdf
Cl 7029406 Rowden.MP3                                       Diagram of Shooting Incident - Dep. Paul (6-14-17).pdf
Cl 7029406 Sarah Hernandez.MP3                              Diagram of Shooting Incident - Dep. Thompson (6-14-
Cl 7029406 Victor Francois.MP3                              17). pdf
Cl 7029406 W- Hernandez, Kevin {l).MP3                      Le Release.pdf
Cl 7029406 W- Hernandez, Kevin (2).MP3                     Ofc. Atterbury OWS Statement (6-14-17).pdf
C17029406 W- Schwiethale, Zachary I.MP3                    Ofc. Blakeman OWS Statement (6-14-17).pdf
Cl 7029406 wit - Dep. Blakeman.WMA                         Ofc. Boe OWS Statement (6-16-17).pdf
Cl 7029406 wit - Dep. M.Paul.WMA                           Ofc. Cotchleovitch OWS Statement (6-14-17).pdf
Cl 7029406 wit- Dep. P.Thompson.WMA                        Ofc. Didway OWS Statement (6-15-17).pdf
Cl 7029406 wit - Dep.Cotchaleovitch.WMA                    Ofc. Easterbrook - Incident Report - C 17029406. pdf
C17029406.wmv                                              Ofc. Easterbrook OWS Statement (6-14-17).pdf
CAD Logs forK17195022.pdf                                  Ofc. Kyle OWS Statement (6-14-17).pdf
CAD Report #Kl 7195020.pdf                                 Ofc. Paul OWS Statement (6-16-17).pdf
CAD Report #K17195022 _ Case No. Cl 7029406.pdf            Ofc. Rice FU Report (6-20-17).pdf
CAD Report #Kl 7195501.pdf                                 Ofc. Rice OWS Statement (6-14-17).pdf
Cpt. McSwain FU Supplemental Report (9-18-17).pdf          Ofc. Spiewak OWS Statement (6-15-17).pdf
Dep. Blakeman Recorded Statement Transcript (10-11-        Ofc. Thompson OWS Statement (6-14-17).pdf
17).pdf                                                    Ofc. Young FU Supplemental Report (6-23-17).pdf
Dep. Cotchaleovitch Recorded Statement Transcript (10-     Ofc. Zydek F_U Supplemental Report (9-18-17).pdf
13-17).pdf                                                 Photos Deputy Molina at the precinct 6-14-
Dep. Cotchaleovitch Recorded Statement Transcript (6-      17_ Redacted. pdf
14-17).pdf                                                 Photos Deputy Molina at the scene 6-14-
Dep. Herrera FU Supplemental Report (9-26-17).pdf          17_ Redacted. pdf
Dep. Paul Recorded Statement Transcript (10-11-17).pdf     Photos Deputy Molina guns 6-14-17.pdf
Dep. Somers Statement (6-30-17).pdf                        Photos Deputy Owens & Molina 6-14-17_redacted. pdf
Dep. Thompson Recorded Statement Transcript (10-12-        Photos Deputy Owens at the Precinct 6-14-17. pdf
17).pdf                                                    Photos Deputy Owens at the scene 6-14-17.pdf
                                                 Page 64 of80




                                                                                           PLTF EXHIBIT B
          Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 65 of 80




  Photos Deputy Owens hands & feet 6-14-17.pdf                 Wit. Zachry Schwiethale Recorded Statement Transcript
  Photos Det. Hiemstra - still shots of scene 12-12-17.pdf     (6-13-17).pdf
  Photos Det. Johnson - the scene 6-14-17. pdf                  17-195020- 17-195022- Cl7029406- SWRADIOAND
  Photos of scene after Le was shot 6-14-1 7. pdf              TAC4- #90- 0000-0319- VOX.MP3
  Photos of scene and surrounding cars 6-14-17. pdf             17-195020_CALL1_Cl01_#70_2356-0002.mp3
  Photos Tasers deployed at the scene 6-14-17.pdf               17-195022- Cl7029406- CALLI - C107- #32- 2358-
  Pulse Log Graph for Serial #X29004 TAF (6-14-17).pdf         0003.mp3
  Sgt. Abott OWS Statement (6-14-17).pdf                       17-195022- C17029406- CALLl0- Cll8- #22- 1217-
  Sgt. McNabb FU Supplemental Report (9-26-17).pdf             1220.mp3
  Sgt. Zirnnisky OWS Statement (6-16-17).pdf                   17-195022_Cl 7029406_CALL1 l_C109_#51_1228-
  Statement Victor Francois (6-21-17).pdf                      1230 (PHONE CALLFORK17195501 AS
  Supervisor Checklist for Deputy Involved Shootings -         WELL).mp3
  Sgt. Abbott (6-14-17).pdf                                    17-195022- Cl7029406- CALL2- Cl04- #94- 0000-
 Taser Information for Serial #X00-165021 (6-13-17 - 6-        0004.mp3
  14-17).pdf                                                   17-195022- C17029406- CALL3- S181 - #12- 0001-
 Taserlnformation for Serial #X00-244066 (6-12-17 - 6-         0003.mp3
  14-17).pdf                                                   17-195022_Cl7029406_CALL4_C108_#85_0020-
 Taser Information for Serial #X29001VEK (5-13-17 - 6-         0021.mp3
 14-17).pdf                                                    17-195022- C17029406- CALLS- ClOl - #70- 0ll2-
 Taser Information for Serial #X29004TAF (6-13-17 - 6-         0ll2.mp3
 14-17). pdf                                                   17-195022- C17029406- CALL6- C107- #32- 0116-
 UseOfForceReviewBoard-FINAL MolinaART2017-                   0117.mp3
 002.pdf                                                       17-195022- Cl7029406- CALL7- C120- #95- 0138-
 Victim Recorded Statement Transcript Zachry                  0140.mp3
 Schwiethale (7-10-17).pdf                                     17-195022- C17029406- CALLS- C104- #94- 0634-
 Wit. Anthony Rice Recorded Statement Transcript (6-          0637.mp3
 14-17).pdf                                                    17-195022_Cl 7029406_CALL9_ C104_#94_0949-
 Wit. Corene Bohna Recorded Statement Transcript (6-          0950_ OUT.mp3
 14-17).pdf                                                   17-195025_CALL1_C101_#70_0003-0006.mp3
 Wit. Delsie Baumgardner Recorded Statement                   17-195501_Dl56_#31_1358-1359.mp3
 Transcript (6-14-17).pdf                                     17-195501- SWRADIO- #42- 1603-1723- VOX.MP3
 Wit. James Cradle Recorded Statement Transcript (6-19-       170613_111 lCADinterface_Molina.pdf
 17).pdf                                                      170613_ 1358CADinterface_ Molina.pdf
Wit. Jamie Foster Recorded Statement Transcript (06-          170613_l 70614CADinterface_Molina_Redacted.pdf
 15-17).pdf                                                   Cl 7029406 Dep. Molina 7-24-17 COMPELLED.MP3
Wit. Jonathan Pashby Recorded Statement Transcript (6-        Dep. Molina Ammo Count.pdf
 15-17).pdf                                                   Dep. Molina Backup Revolver Ammo Count.pdf
Wit. Kamron O'Brien Recorded Statement Transcript (6-         Dep. Molina Compelled FU strnts.wmv
22-17).pdf                                                    Dep. Molina Garrity Statement (6-15-17).pdf
Wit. Kevin Hernandez Recorded Statement Transcript            170613_ l 706 l 4CADinterface_Owens_Redacted.pdf
(6-14-17).pdf                                                 Cl7029406 Dep. Owens 7-24-17 COMPELLED.MP3 -
Wit. Lawrence Rice Recorded Statement Transcript (6-          Shortcut.Ink
14-17).pdf                                                    Dep Owens Compelled FU strnts. wmv
Wit. Neil Foster Recorded Statement Transcript (6-14-         Dep. Owens Ammo Count.pdf
17).pdf                                                       Dep. Owens Backup Pistol Ammo Count.pdf
Wit. Rick Benjamin Recorded Statement Transcript (6-          Dep. Owens Garrity Statement (6-15-17).pdf
14-17).pdf                                                    GeneralOrdersManual 71 042817-062617.pdf
Wit. Sandra Rice Recorded Statement Transcript (06-14-        GeneralOrdersManual 72 062717-072617.pdf
17).pdf                                                       GeneralOrdersManual 73 072717-101217.pdf
Wit. Sarah Hernandez Recorded Statement Transcript            GeneralOrdersManual 74 101317-121217.pdf
(6-28-17).pdf                                                 GeneralOrdersManual 75 121317-022718.pdf
Wit. Van Nguyen Recorded Statement Transcript (6-28-          GeneralOrdersManual 76 022818 - 031218.pdf
17).pdf                                                       GeneralOrdersManual 77 031318-042918. pdf
                                                    Page 65 of80




                                                                                            PLTF EXHIBIT B
          Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 66 of 80




   GeneralOrdersManual 78 043018 - 051618.pelf                Karen Finch.pdf
   GeneralOrdersManual 79 051718 - present.pdf                IAPro_ Redacted.pdf
   171220Supervisors.pdf                                      IncidentReport_ Redacted.pelf
   180308IAPRO_ Molina.pdf                                    17-223049_SW RADIO_Op77_0200-0300_RT.MP3
   180308Individual Assesment                                 17-223049_TAC4_Op77_0211-0224_RT.MP3
  History_Molina_Redacted.pdf                                 59611 Claim Filing_Redacted.pdf
   180308Qualified To Carry Patrol Rifle_Redacted.pdf         CAD_Redacted. pdf
   180308Qualified To Carry Secondary                        Final Memo Molina-Sisimit.pdf
  Handgun_Redacted pdf                                       IAPro_Redacted. pdf
   180308Qualified To Carry_Molina_Redacted.pdf              Incident Reports_Redacted. pdf
  PERS_Molina171214_RE_Redacted.pdf                          IncidentReport_ Redacted. pdf
  TRGLog_Molinal 80308_ Redacted.pdf                         Puyallup PD report--171880017 5_ Redacted. pdf
  TRV_Molinal 7121 l_REfinal.pdf                             Screening Sheet MOLINA_Redacted.pdf
  IAPro_ Redacted. pdf                                       Signed Final Memo Molina-Sisimit DRB2017-100.pelf
  Incident reports_Redacted. pdf                             CAD_Redacted.pdf
  IncidentReport_Redacted. pdf                               IAPro_ Redacted. pdf
  IAPro_Redacted.pdf                                         Incident Report_Redacted.pdf
  IncidentReport_Redacted. pdf                               IncidentReport_ Redacted. pdf
  IAPro_ Redacted. pdf                                       Radio Audio.MP3
 IncidentReport_ Redacted. pdf                               2016-019 A Follow Up_Redacted.pdf
 Request by Tacoma PD for patrol coverage.pdf                2016-019 Fowler statement.pdf
 IAPro_ Redacted. pdf                                        2016-019 W statement_Redacted.pdf
 IncidentReport_Redacted.pelf                                A-150 Fowler_Redacted.pelf
 Email.pelf                                                  Buchan OWS I_Redacted.pdf
 IAPro_ Redacted pdf                                         c 15293033 Follow Up Report_Redacted. pdf
 IncidentReport_ Redacted. pdf                               CAD_Redacted. pdf
 IRIS Report_Redacted.pdf                                    Commander's Review_Redacted.pdf
 126070_Redactedpdf                                          Digital Forensics Request-Cell phone.pdf
 CAD_Redacted. pdf                                           Email from Records. pdf
 IAPro_Redacted pdf                                          Email from Wheeler with medical records_Redacted.pdf
 incident report_Redacted. pdf                              Final Memo Buchan_Redacted.pdf
 IncidentReport_ Redacted. pdf                              Final Memo Molina-Sisimit_Redacted.pelf
 picture ofmeth.pelf                                        Findings and Recommendations for Dep Buchan from
 17-222470_METRO RADIO_Op69_1537-                           Major Wills .pdf
 1625 RT.MP3                                                Findings and Recommendations for Dep Molina from
 17-222470_SW RADIO_Op66_1538-1607_RT.MP3                   Major Wills.pdf
 17-222470_TAC4_Op66_1545-1616_RT.MP3                       HW Documents C15293033_Redacted.pdf
 anderson OWS_Redacted.pdf                                  IAPro_ Redacted.pdf
Andrews OWS_ Redacted.pdf                                   IIU2016-019 Buchan interview_Redacted. pdf
C212_ Redacted.pdf                                          IIU2016-019 Certification Letter. pelf
CAD_Redacted pdf                                            IIU2016-019 Legesse statement_Redacted.pdf
cotchaleovitch OWS_ Redacted pdf                            IIU2016-019 Molina interview_Redacted. pdf
Davis OWS_Redacted.pdf                                      Incident reports_Redacted. pdf
Glasgow Incident Report_Redacted.pdf                        IncidentReport_ Redacted. pdf
IAPro_ Redacted pdf                                         KCSO IIU completed investigation IIU2016-019.pelf
IncidentReport_ Redacted. pdf                               KCSO IIU new complaints.pdf
Miller OWS.pdf                                              No Advisory Major Wills IIU2016-019.pdf
Muller OWs_ Redacted.pdf                                    Note_Redacted.pdf
Sandu OWS_Redacted.pelf                                     OWS Molina_Redacted.pdf
Vehicle Reg_Redactedpdf                                     Pavlovich ORpdf
Carl Cook. pdf                                              Preliminary complaint form_Redacted. pdf
IAPro_ Redacted.pdf                                         Signed Disposition Letter_Redacted. pdf
IncidentReport_ Redacted. pdf                               Signed Receipt Letter_Redacted. pdf
                                                  Page 66 of80




                                                                                          PLTF EXHIBIT B
         Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 67 of 80




  A-150 Notice.pd[                                        Lopez OWS.pdf
  A-150.pdf                                               Molina A-150_ Redacted. pdf
  Additional statment from Silverstein_Redacted.pdf       MPO Hutchinson A-150_Redacted.pdf
  CAD C16015435_Redacted.pdf                              MPO Paul A-150_Redacted.pdf
  Certification Letter IIU2016-150. pdf                   MPO Paul OWS.pdf
  claim_Redacted.pdf                                      Mullers OWS.pdf
  Complaint notification .pdf                            NO Advisory Memo Major Kimerer IIU2016-150 via
  Complaint Notification. l.pdf                           email.pdf
  Complaint notification.2. pdf                          Police Officer Bill ofRights.pdf
  Complaint notification.3. pdf                          RE_ A-150_ Redacted.pdf
  Complaint notification.4.pdf                           RE_ Complaint notification .pdf
  Complaint notification.5.pdf                           RE_ Complaint notification.1.pdf
 Complaint notification.6.pdf                            RE_ Complaint notification.2.pdf
 Complaint notification.pd[                              RE_ Complaint notification.3.pdf
 Cotchaleovitch OWS.pdf                                  RE_ Complaint notification.5.pdf
 Currey A-150_ Redacted. pdf                             RE_ Complaint notification.pd[
 Curry OWS.pdf                                           RE_ defense interview-S_ Redacted. pdf
 Deputy Cotchaleovitch A-150_Redacted.pdf                RE_ defense interview-SE _ Redacted.pd[
 Deputy Hawley A-150_ Redacted.pdf                       RE_ KCSO IIU case file ready for your review IIU2016-
 Deputy Klinger A-150_Redacted.pdf                       150.pdf
 Deputy Lopez A-150_ Redacted.pdf                        RE_ MW_Redacted. pdf
 Deputy Silverstein A-150_Redacted.pdf                   REVISED NO Advisory Memo Major Kimerer
 Deputy Wynkoop A-150-l_Redacted.pdf                     IIU2016-150 via email.pd[
 Final Memo Cotchaleovitch_ Redacted.pd[                 Sgt Muller A-150_Redacted.pdf
 Final Memo Currey_Redacted.pdf                          Signed Disposition Letter_Redacted. pdf
 Final Memo Hawley_Redacted.pdf                          Signed F&R IIU2016-150 Hawley_Redacted.pdf
 Final Memo Klinger_Redacted.pdf                         Signed F&R IIU2016-150 Silverstein_Redacted.pdf
 Final Memo Lopez_Redacted.pdf                           Signed F &R IIU2016-150 Wyncoop_Redacted. pdf
 Final Memo Molina-Sisimit_Redacted.pdf                  Signed F&R Memo IIU2016-150
 Final Memo MPO Hutchinson_Redacted.pdf                  Cotchaleovitch_ Redacted. pdf
 Final Memo Muller_Redacted.pdf                          Signed F&R Memo IIU2016-150 Currey_Redacted.pdf
 Final Memo Paul_Redacted.pdf                            Signed F&R Memo IIU2016-150
 Final Memo Silverstein_Redacted. pdf                   Hutchinson_Redacted.pd[
 Final Memo Wynkoop_Redacted.pdf                         Signed F&R Memo IIU2016-150 Klinger_Redacted.pdf
FOLLOW-UP                                                Signed F&R Memo IIU2016-150 Lopez_Redacted.pdf
REPORT_CaseNbr{C16015435}_OflicerID{08145}_R            Signed F&R Memo IIU2016-150 Molina-
edacted.pdf                                             Sisimit_Redacted pdf
FW_ defense interview- _Redacted.pd[                    Signed F&R Memo IIU2016- l 50 Muller_Redacted.pdf
FW_ defense interview-SE_Redacted.pd[                   Signed F&R Memo IIU2016-150 Paul_Redacted.pdf
FW_ defense interview-SE. I_Redacted.pd[                Signed Receipt Letter_Redacted.pd[
Garrity. pdf                                            Silverstein's OWS_Redacted.pdf
Glasgow IIUOR_Redacted.pdf                              Wynkoop OWS.pdf
Hutchinson's Statement_Redacted. pdf                    Final Memo Blakeman_Redacted.pdf
IAPro_ Redacted. pdf                                    Final Memo Molina-Sisimit_Redacted.pdf
IIU Follow-up_Redacted.pdf                              Final Memo MPO Hutchinson_Redacted. pdf
IIU2016-150 Certification Letter.pdf                    Final Memo Silverstein_Redacted.pd[
INCIDENT                                                IAPro_ Redacted.pdf
REPORT_CaseNbr{Cl6015435}_OfficerID{08145}_R            IIU2016-183 certification letter.pd[
edacted.pdf                                      -      IncidentReport_ Redacted. pdf
IncidentReport_ Redacted. pdf                           KCSO IIU completed investigation IIU2016-183.pdf
KCSO IIU completed investigation IIU2016-150.pdf        KCSO IIU new complaints.pd[
KCSO IIU new complaint IIU2016-150.pdf                  Signed Disposition Letter_Redacted.pd[
Klinger OWS I. pdf                                      Signed Receipt Letter_Redacted.pd[
                                              Page 67 of80




                                                                                      PLTF EXHIBIT B
         Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 68 of 80




  UOF 2016-118_Redacted.pdf                                Brannon IIU A-105 Response Statement_Redacted.pdf
  UOF2016-l 18 Silverstein Training record-1.pdf           Brannon Subject A-15 0_Redacted. pdf
  A-128.pdf                                                Cl 7020013 001.pdf
  CAD_Redacted. pdf                                        C17020013 002.pdf
  Commander Review.pdf                                     Cl 7020013 003.pdf
  Hold Harrnless_Redacted.pdf                              Cl 7020013 004.pdf
  IAPro_ Redacted.pdf                                      Coleman contact request letter_Redacted. pdf
  IncidentReport_Redacted. pdf                            Contact letter returned USPS (2)_Redacted.pdf
  SW Radio.MP3                                            Contact letter returned USPS_Redacted. pdf
  20170331 _ 205656. pdf                                  contact letter try new address (2)_Redacted. pdf
  20170331 _ 205707_ Redacted. pdf                        contact letter try new address_Redacted.pdf
  20170331 _ 205711. pdf                                  contact letter_Redacted.pdf
  20170331_205712.pdf                                     Deputy Hererra Follow-up_Redacted. pdf
  20170331_205715.pdf                                     Due Date Memo Major Fryberger IIU2017-061.pdf
  20170331_205716.pdf                                     Final Memo Brannon IIU2017-061_Redacted.pdf
 A-125_Redacted.pdf                                       Final Memo Glasgow IIU2017-061_Redacted.pdf
 A-128.pdf                                                Final Memo Molina-Sisimit IIU2017-061 _ Redacted. pdf
 Accepted_ parks interview pct 4.pdf                      Final Memo Sandu IIU2017-061_Redacted.pdf
 CAD_Redacted. pdf                                        Findings and Recommendations Major Fryberger
 Commander Review. pdf                                    IIU2017-061_Redacted.pdf
 Contact letter returned USPS_Redacted.pdf                Glasgow IIUORVenters_Redacted.pdf
 contact letter_Redacted.pdf                              Glasgow Subject A-150_Redacted.pdf
 Due Date Memo Major Fryberger IIU2017-046.pdf            google maps photos VG apts.pdf
 Final Memo_Redacted.pdf                                 IAPro_ Redacted.pdf
 IAPro_ Redacted.pdf                                     IIU201 7-061 _ Certification letter. pdf
 IIU2017-046 Certification Letter.pdf                    IIU2017-061 _ Certification letter-1.pdf
 Incident Report_Redacted.pdf                            IIU2017-061 _ Redacted. pdf
 IncidentReport_Redacted. pdf                            IIUORVenters_ Redacted. pdf
 molina IIU2017-046_Redacted.pdf                         Incident Report- Currey_Redacted. pdf
 Molina-Sisimit subject a-150_Redactedpdf                IncidentReport_ Redacted. pdf
 OWS- Molina_Redacted.pdf                                Molina diagram.pdf
 OWS- Parks_Redacted.pdf                                 Molina OR needed--a150 service.pdf
 OWS-Zimnisky_ Redacted. pdf                             Need an OR---A150 service.pdf
P-128 Garrity Admonishment.pdf                           OWS- Brannon_Redacted.pdf
Parks witness a-150_Redacted.pdf                         OWS- Drazich_Redacted. pdf
POBR.pdf                                                 OWS- Elliot_Redacted.pdf
Public Records Request 17-288_Redacted.pdf               OWS- Glasgow_Redacted. pdf
RE_ Subject a-150.pdf                                    OWS- Molina_Redacted.pdf
RE_ witness a-150.1.pdf                                  OWS- Parks_Redacted.pdf
Re_ witness a-150.pdf                                    OWS- Sandu_ Redacted pdf
Signed Disposition Letter_Redacted.pdf                   OWS- Silverstein_Redacted. pdf
Signed F&R Memo Major Fryberger IIU2017-                 OWS- Thompson_Redacted.pdf
046_ Redacted. pdf                                       OWS- Zimnisky_Redacted.pdf
Signed Receipt Letter_Redacted.pdf                       P-128 Garrity Admonishment (2).pdf
Subject a-150.pdf                                        POBR (2).pdf
SW Radio.MP3                                             RE_ Additional info _ Redacted. pdf
witness a-150.pdf                                        RE_ Additional info 1_ Redacted. pdf
Written statement_Redacted.pdf                           RE_ Additional info2_Redacted.pdf
17 l 220Supervisors_ Redacted. pdf                       Re_ Additional info3_Redacted.pdf
A-125 .1 _Redacted. pdf                                  RE_ Additional info4_Redacted.pdf
Additional info _Redacted.pdf                            RE_ Additional info5_ Redacted. pdf
Brannon Glasgow Sisimit Sandu Follow-                    RE_ Additional info6_Redacted.pdf
up_Redacted. pdf                                         RE_ Additional info 7_ Redacted. pdf
                                               Page 68 of80




                                                                                       PLTF EXHIBIT B
         Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 69 of 80




   RE_ Additional info8_ Redacted.pdf                      Didway OR.pdf
   RE_ Glasgow OR Needed---A150 service_Redacted.pdf       Final Memo Deer P2016-045.pdf
   RE_ IITJ201 7-061 _ Redacted. pdf                       Final Memo Molina-Sisimit P2016-045.pdf
   RE_ Molina OR needed--al50 service.pdf                  FW_ Final Memo Deer P2016-045.pdf
   Sandu a150_Redacted.pdf                                 Hutchinson OR_Redacted.pdf
   Sandu OR Needed-a150 service.pdf                        IAPro_ Redacted. pdf
  sandu OR_Redacted.pdf                                    incident report_Redacted. pdf
  Signed Disposition Letter_Redacted.pdf                   IncidentReport_ Redacted.pdf
  Signed Receipt Letter_Redacted.pdf                      Kyle OR_Redacted.pdf
  Sisimit a150_Redacted.pdf                               Map.pdf
  Taser Cartridge Pic.pdf                                 Molina OR_Redacted.pdf
  Taser Download.pdf                                      pursuit worksheet.pdf
  VV.1 _ Redacted.pdf                                     Radio wave file.MP3
  VV_ Redacted.pdf                                        Supervisor pursuit reviewMolina.pdf
  CAD printout for event._Redacted.pdf                    Supervisor review-Deer.pdf
  Commanders review_Redacted.pdf                          CAD_Redacted.pdf
  Deputy Obregon's Fol-Up Supplemental_Redacted.pdf       Final Memo Blakeman P2016-050.pdf
  IAPro_ Redacted. pdf                                    Final Memo Hutchinson P2016-050.pdf
 lncidentReport_Redacted. pdf                             IAPro_ Redacted. pdf
 IRIS Recovery Follow-up Report_ Redacted. pdf            Incident report_Redacted.pdf
 Original 10-63 IRIS Report by Deputy                     IncidentReport_ Redacted.pdf
 Timby_ Redacted. pdf                                     King County Sheriff pdf
 Preliminary Supervisor Review A-125_ Redacted. pdf       Officer Reports_Redacted.pdf
 IAPro_ Redacted pdf                                     pictures of PD car damage.pdf
 Incident Report_Redacted. pdf                           Supervisor Review.pdf
 IncidentReport_ Redacted.pdf                            supplemental OR-Hutch.pdf
 Photograph.jpg                                          Supplemental OR-Molina_Redacted.pdf
 c174.pdf                                                Blue Team Followup Report Cl6007196_Redacted.pdf
 IAPro.pdf                                               CAD Printout C 16007196_Redacted. pdf
 IncidentReport_Redacted. pdf                            Commander's Review_Redacted.pdf
 picture of damage.jpg                                   IAPro_Redacted.pdf
 126251.jpg                                              Incident Report C 16007196_Redacted pdf
 IAPro_ Redacted.pdf                                     IncidentReport_ Redacted.pdf
IncidentReport_Redacted. pdf                             Preliminary Complaint Submission
Molina officer's witness statement_Redacted. pdf         Report_Redacted.pdf
Photograph2.JPG                                          107339.jpg
A-128. l_Redacted.pdf                                    IAPro_Redacted.pdf
A-128_Redacted.pdf                                       IncidentReport_ Redacted.pdf
Blakeman OR_Redacted.pdf                                Photo.jpg
CAD_Redacted.pdf                                        Related Docements.pdf
Commander Review_ Redacted.pdf                          CAD_Redactedpdf
IAPro_ Redacted. pdf                                    Commander Review.pdf
IncidentReport_Redacted. pdf                            Electronically signed Preliminary Complaint Submission
IRIS Report_Redacted.pdf                                Form.pdf
Miller follow up_Redacted.pdf                           IAPro_ Redactedpdf
Molina OWS_Redacted.pdf                                 Incident Reports_Redacted.pdf
PT Cruser car reg_Redacted.pdf                          IncidentReport_ Redacted.pdf
RE_C.16027605.pdf                                       Photographs. pdf
Trespass letter_Redacted. pdf                           Statement of CO Shawn McNaughton.pdf
Young OWS_ Redacted.pdf                                 CAD printout_Redacted.pdf
911 request.pdf                                         Commander Review_Redacted.pdf
Blakeman OR_Redacted.pdf                                IAPro_ Redacted. pdf
CAD_ Redacted. pdf                                      IncidentReport_ Redacted. pdf
                                              Page 69 of80




                                                                                      PLTF EXHIBIT B
          Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 70 of 80




   Related reports_Redacted. pdf                             Blue Team Follow Up.pdf
   Supervisor Use of Force Review_Redacted. pdf              CAD_Redacted.pdf
  CAD Printout_Redacted.pdf                                  Commander Review_Redacted.pdf
  Commander Review_Redacted.pdf                              Garrity Warning.pdf
  IAPro_ Redacted pdf                                       Hutchinson Complaint Notification A-150_ Redacted. pdf
  Incident Reports_Redacted. pdf                            IAPro_ Redacted. pdf
  Supervisor Use of Force Incident Review_Redactedpdf       Incident Report_Redacted.pdf
  CAD_Redacted. pdf                                         IncidentReport_Redacted. pdf
  Commander's review_Redacted.pdf                           Molina Officer's Witness Statement_Redacted.pdf
  Det Allen follow up charging docs_Redacted.pdf            Supervisor Use of Force Incident Review_Redacted.pdf
  Elliot OWS_Redacted.pdf                                   CAD_Redacted pdf
  IAPro_ Redacted pdf                                       Commander review_Redacted.pdf
  IIU2016-183.pdf                                           Follow Up Recovery Report_Redacted.pdf
  Incident Report Silverstein_Redacted.pdf                  Follow Up Recovery Supplemental_Redacted.pdf
  IncidentReport_Redacted. pdf                              IAPro_ Redacted.pdf
  OWS Blakeman_Redacted.pdf                                IncidentReport_ Redacted.pdf
  OWS Dery.pdf                                             Original Auto Theft Report_Redacted. pdf
  OWS Hutchinson_Redacted.pdf                              UOF Supervisor Review_Redacted.pdf
  OWS Johnson_Redacted. pdf                                CAD_Redacted.pdf
  OWS Molina_Redacted.pdf                                  Commander Review_Redacted.pdf
  OWS Stratton_Redacted.pdf                                Deputy ORs_Redacted.pdf
 Photos Silverstein.pdf                                    IAPro_ Redacted.pdf
 Silverstein follow-up_Redacted pdf                        Incident report_Redacted.pdf
 Taser download.pdf                                        IncidentReport_ Redacted. pdf
 UOF Supervisor review_Redacted pdf                        Supervisor review_Redacted. pdf
 CAD Printout C16038835_Redacted.pdf                       A-125_ Redacted.pdf
 Commander's review_Redacted.pdf                           CAD_Redacted.pdf
 Deputy Molina OWS 2 Cl6038835_Redacted.pdf                Commander Review_Redacted. pdf
 DOL Printout Spriggs_Redactedpdf                          IAPro_ Redacted.pdf
 Follow-up Report C16038835_Redacted.pdf                   Incident Report-Owens_Redacted. pdf
 IAPro_ Redacted.pdf                                       IncidentReport_ Redacted. pdf
 IncidentReport_ Redacted. pdf                            OWS-Molina_ Redacted.pdf
 IRIS Report C15038835_Redacted.pdf                       OWS-Spiewak_ Redacted. pdf
 OWS Deputy Blakeman C16038835_Redactedpdf                OWS-Young_Redacted.pdf
 OWS Deputy Molina C16038835_Redacted.pdf                 Witness Statement_Redacted. pdf
 OWS Deputy Stratton C16038835_Redactedpdf                Blue Team follow up report. pdf
 Supervisor Use of Force Investigation and Review         CAD_Redacted.pdf
 C16038835_Redacted.pdf                                   Commander Review_Redacted. pdf
Taser Download Record C16038835.pdf                       IAPro_ Redacted. pdf
Victim Statement C16038835_Redacted.pdf                   Incident Reports_Redacted.pdf
CAD printout_Redacted.pdf                                 IncidentReport_ Redacted.pdf
Commander's review_Redacted.pdf                           Radio audio.MP3
IAPro_ Redacted.pdf                                       Related documents_Redacted. pdf
Incident Report Elliot_Redacted.pdf                       Taser download.pdf
IncidentReport_ Redacted. pdf                             Use of Force Supervisor Investigation and
OWS Currey_Redacted.pdf                                   Review_Redacted. pdf
OWS Molina_Redacted.pdf                                   20170331 _ 205656. pdf
OWS Sandu_Redacted.pdf                                    20170331_205707_Redacted.pdf
Taser download Molina.pdf                                 20170331 _205711. pdf
Taser download Sandu.pdf                                  20170331_205712.pdf
UOF Supervisor review_Redactedpdf                         20170331 _ 205715.pdf
2nd Hutchinson officer's witness                          20170331_205716.pdf
statement_Redacted. pdf                                   A-125_ Redacted.pdf
                                                Page 70 of80




                                                                                         PLTF EXHIBIT B
         Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 71 of 80




   CAD_Redacted.pdf                                          17-222470_SW RADIO_Op66_1538-1607_RT.MP3
   Commander Review.pdf                                      17-222470_ TAC4_Op66_ 1545-1616_RT.MP3
   IAPro_ Redactedpdf                                       A-125_Redacted.pdf
   Incident Report_Redacted.pdf                             anderson OWS_Redacted.pdf
   IncidentReport_ Redacted. pdf                            Andrews OWS_ Redacted.pdf
  OWS- Molina_Redacted.pdf                                  C-212_ Redacted. pdf
  OWS- Parks_Redacted.pdf                                   CAD_Redacted.pdf
  OWS-Zimnisky_ Redacted.pdf                                Commanders Use of Force Review_Redacted.pdf
  SW Radio.MP3                                              cotchaleovitch OWS_Redacted.pdf
  A-125_ Redacted.pdf                                       Davis OWS_Redacted.pdf
  Cl7020013 001.pdf                                         Glasgow IRIS Report_Redacted.pdf
  C17020013 002.pdf                                         IAPro_ Redacted.pdf
  C17020013 003.pdf                                         IncidentReport_ Redacted. pdf
  Cl 7020013 004.pdf                                        Memo Style_Redacted. pdf
  Commander Review_Redacted. pdf                            Miller OWS.pdf
  IAPro_ Redacted.pdf                                       Molina OWS_ Redacted.pdf
  Incident Report- Currey_Redacted.pdf                      Muller OWs_Redacted.pdf
  IncidentReport_Redacted. pdf                             PIC #1.pdf
  OWS- Brannon_Redacted.pdf                                PIC #2.pdf
  OWS- Drazich_Redacted.pdf                                PIC #3.pdf
  OWS- Elliot_Redacted.pdf                                 PIC #4.pdf
 OWS- Glasgow_Redacted.pdf                                 RE_ Use of Force Cl 7033399. l_Redacted.pdf
 OWS- Molina_Redacted.pdf                                  RE_ Use of Force Cl 7033399_Redacted.pdf
 OWS- Parks_Redacted.pdf                                   Sandu OWS_Redacted.pdf
 OWS- Sandu_ Redacted. pdf                                 Vehicle Reg_Redacted. pdf
 OWS- Silverstein_Redacted.pdf                             Weekley OWS.pdf
 OWS- Thompson_Redacted.pdf                                Whitacre OWS_ Redacted.pdf
 OWS- Zimnisky_Redacted.pdf                                A-125_Redacted. pdf
 Taser Cartridge Pic.pdf                                   Commanders review_Redacted.pdf
 Taser Download.pdf                                        IAPro_ Redacted.pdf
 A-125 for Molina.pdf                                      Incident Report- Easterbrook_Redacted. pdf
 Al-25 Owens.pdf                                           IncidentReport_ Redacted. pdf
 CAD.pdf                                                   Main CAD_Redacted.pdf
 CUOFR.pdf                                                 OWS- Fitchett_Redacted.pdf
 IAPro_ Redacted.pdf                                       OWS- Keller_Redacted.pdf
 IncidentReport_Redacted. pdf                              OWS- Laux_Redacted. pdf
 SW Radio.MP3                                              OWS- Molina_Redacted. pdf
Add'l officer's witness statements_Redacted.pdf            OWS- Roach_Redacted.pdf
CAD Printout_Redacted.pdf                                 OWS- Spiewak_Redacted.pdf
CUOFR_ Redacted.pdf                                        Second CAD for 911 call_Redacted. pdf
IAPro_ Redacted.pdf                                       Taser Download.pdf
Incident Reports_Redacted. pdf                            Commendations, Written Reprimand.pdf
IncidentReport_ Redacted. pdf                             Miscellaneous_Redacted. pdf
Stolen Vehicle Report_Redacted.pdf                        New Employee Info_Redacted.pdf
Supervisor Use of Force Incident Review_Redacted.pdf      Pe.rformance Evaluations_Redacted.pdf
CAD_Redacted.pdf                                          Personal Contact Information.pdf
Commander Review_Redacted. pdf                            Personnel Orders, Salary Step Increases.pdf
IAPro_ Redacted.pdf                                       TRGLog_ Owensl 80621 _ Redacted.pdf
Incident Reports_Redacted. pdf                            TRY_Owens 180524_RE_Redacted. pdf
IncidentReport_ Redacted. pdf                             IAPro_ Redacted.pdf
Supervisor Use of Force Incident Review_Redacted.pdf      IncidentReport_Redacted. pdf
17-222470_ METRO RADIO_Op69_ 153 7-                       Deputy Owens E-mail documenting Meeting.pdf
1625 RT.MP3                                               IAPro.pdf
                                                Page 71 of80




                                                                                    PLTF EXHIBIT B
         Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 72 of 80




   IncidentReport. pdf                                   IMG_ 2585.pdf
   IAPro.pdf                                             IMG_2586.pdf
   IncidentReport. pdf                                   IMG_2587.pdf
   email.pdf                                             IMG_ 2588.pdf
   911 request_Redactedpdf                               IMG_2589.pdf
   CAD Kl 7121092_Redacted.pdf                           IMG_2590.pdf
   IAPro_ Redacted.pdf                                   IMG_2591.pdf
   INCIDENT REPORT Cl 7018452_Redacted.pdf               IMG_2592.pdf
  IncidentReport_Redacted. pdf                           IMG_2593_Redacted.pdf
  Cad_Redacted pdf                                       CAD print_Redacted.pdf
  Email (Chief Konoske). pdf                             Collision Report_Redacted. pdf
  Email (Det. AThompson).pdf                             Sector NOi_Redacted.pdf
  IAPro.pdf                                              Citizen (DOL)_Redacted. pdf
  IncidentReport. pdf                                   Citizen veh (DOL)_Redacted.pdf
  CAD_Redacted.pdf                                      KCSO veh (DOL).pdf
  IAPro.pdf                                             close up of damage to E13722.pdf
  IncidentReport. pdf                                   damage to E13722.pdf
  IAPRO_ Redacted. pdf                                  Deputy Owens OWS.pdf
  IncidentReport_Redacted. pdf                          DRB Findings.pdf
  CAD_Redacted.pdf                                      E13722 vs Cement Column.pdf
  Incident Report_Redacted.pdf                          IAPro_ Redacted.pdf
  Accident Report_Redacted.pdf                          IncidentReport_ Redacted. pdf
  CAD Printout.pdf                                      IAPro_ Redacted.pdf
  DRB memo- date corrected.pdf                          IncidentReport_ Redacted. pdf
 DRB Memo.pdf                                           MARR Packet DRB2017-128_Redacted.pdf
 IAPro.pdf                                              PHOTOS MARR.pdf
 IncidentReport. pdf                                    Miller OR_Redacted.pdf
 PIC 1.pdf                                              Owens OR_Redacted.pdf
 PIC 2.pdf                                              Photo #1.pdf
 PIC 3.pdf                                              Photo #10.pdf
 PIC 4.pdf                                              Photo #11.pdf
 PIC 5.pdf                                              Photo #12.pdf
 PIC 6_Redacted.pdf                                     Photo #13.pdf
 PIC 7.pdf                                              Photo #14.pdf
 PIC 8.pdf                                              Photo #15.pdf
 IAPro_ Redacted.pdf                                    Photo #16.pdf
 IncidentReport_Redacted. pdf                           Photo#17.pdf
 NP DRB Memo.pdf                                       Photo #2.pdf
 IMG_2570.pdf                                          Photo #3.pdf
IMG_2571.pdf                                           Photo #4.pdf
IMG_2572.pdf                                           Photo #5.pdf
IMG_ 2573.pdf                                          Photo #6.pdf
IMG_ 2574.pdf                                          Photo #7.pdf
IMG_2575.pdf                                           Photo #8.pdf
IMG_ 2576.pdf                                          Photo #9.pdf
IMG_ 2577.pdf                                          CAD Printout_Redacted.pdf
IMG_ 2578.pdf                                          91 lRadio Transmission Request.pdf
IMG_2579.pdf                                           Signed Written Reprimand.pdf
IMG_2580.pdf                                           A-128_ Redacted.pdf
IMG_2581.pdf                                           CAD Entry_Redacted.pdf
IMG_2582.pdf                                           Commander Review_Redacted. pdf
IMG_2583.pdf                                           Findings Memo_Redacted. pdf
IMG_2584.pdf                                           IAPro_ Redacted.pdf
                                             Page 72 of80




                                                                                 PLTF EXHIBIT B
         Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 73 of 80




   Incident Report_Redacted.pdf                             Arico Police officers Bill ofRights.pdf
   IncidentReport_Redacted. pdf                             Cad_Redacted pdf
   Malloy A-150_Redactedpdf                                 Commander review_Redacted.pdf
   Malloy OWS. pdf                                          commanders use offorce_Redacted.pdf
   Owens OWS_Redacted.pdf                                   IAPro_ Redacted. pdf
   OWES A 150_Redacted.pdf                                  IncidentReport_ Redacted. pdf
  Picture l.pdf                                             Owens A-150_Redacted.pdf
  Picture 10.pdf                                            Owens Email_Redacted. pdf
  Picture 2.pdf                                             Owens Garrity.pdf
  Picture 3.pdf                                             Owens OWS_Redacted.pdf
  Picture 4.pdf                                            Owens Police Officer's Bill ofRights.pdf
  Picture 5.pdf                                            Preliminary Complaint_Redacted. pdf
  Picture 6.pdf                                            Tompkins A-150_Redacted.pdf
  Picture 7.pdf                                            Tompkins Email_Redacted.pdf
  Picture 8_ Redacted. pdf                                 Tompkins Garrity.pdf
  Picture 9.pdf                                            Tompkins OWS_Redacted.pdf
  Supervisors Follow UP_Redacted. pdf                      Tompkins Police Officer's Bill ofRights.pdf
  IIU2016-279 Certification letter.pdf                     IIU2017-226FollowUp_Redacted.pdf
 KCSO JIU opened and completed investigation               CAD_FU #Kl 7339803 (Robbery)_Redacted.pdf
 IIU2016-279.pdf                                           FU_R - Det. A Thompson_Redacted.pdf
 Final Memo _Redacted.pdf                                  FU_R- Sgt. Barden.pdf
 Signed Disposition Letter 2nd attempt new                 FU-RI - Det. A Thompson_Redacted.pdf
 address_Redacted. pdf                                     IR- Dep. S Tompkins_Redactedpdf
 Signed Disposition Letter returned USPS_Redacted.pdf      IS Rpt- Dep. Roach.pdf
 Signed Disposition Letter_Redacted. pdf                   OWS - Dep. Arico_Redacted.pdf
 Blue Team Preliminary Cl 7035402 completesd prior to      OWS - Dep. B Miller_Redactedpdf
 this complaint_Redacted.pdf                               OWS -Dep. G Anderson_Redactedpdf
 IAPro_ Redacted. pdf                                      OWS - Dep. Gervacio_K9.pdf
 IncidentReport. pdf                                       OWS - Dep. Hennessy_Redacted. pdf
 Original complaint form_Redacted. pdf                     OWS - Dep. J Thomas_Redacted.pdf
 Dowdall and Owens IIU FOLLOW_Redacted.pdf                 OWS - Dep. Lamothe_Redacted.pdf
 Incident Report_Redacted. pdf                             OWS - Dep. Owens_Redacted.pdf
 Email_Redacted.pdf                                        OWS - Dep. Sandu_Redacted.pdf
 IIU2017-116 certification letter email.pdf                OWS - Det. M McDonald_Redacted.pdf
IIU2017-116 certification Letter.pdf                       OWS - Det. Skaar_Redacted.pdf
Signed F&R Memo Major Fryberger IIU2017-                   OWS - Sgt. Barden_Redacted.pdf
 116_ Redacted. pdf                                       DOL Coleman_Redacted.pdf
Due Date Memo Major Fryberger IIU2017-116.pdf             DOL Lawson_Redacted.pdf
Final Memo Dowdall.pdf                                    DOL Venters_Redacted.pdf
Final Memo Owens.pdf                                      WACIC Coleman l_Redacted.pdf
RE_ Voice Mail (1 minute and 20                           IIU2017-226_ Certification Letter - follow up
seconds)_Redacted. pdf                                    satisfied. pdf
Signed Disposition Letter.pdf                             A-188 (follow up)_Redacted.pdf
Signed Receipt Letter.pdf                                 Signed Findings Memo Major Williams IIU2017-
IAPro_ Redacted.pdf                                       226_ Redacted.pdf
IncidentReport_ Redacted. pdf                             Due Date Memo Major Williams IIU2017-226.pdf
CAD C17035402_Redacted.pdf                                Final Memo_Redacted.pdf
INCIDENT REPORT Cl 7035402_Redacted.pdf                   Signed Disposition Letter_Redacted. pdf
Supervisor Investigation Cl 7035402_Redacted.pdf          Signed Receipt Letter_Redacted. pdf
A-18 8_ Redacted. pdf                                     Subject Contact Letter Request_Redacted. pdf
Arico A150_Redacted.pdf                                   IAPro_ Redacted. pdf
Arico Garrity.pdf                                         IncidentReport_Redacted. pdf
Arico OWS_Redacted.pdf                                    20170815_203830_Redacted.pdf
                                                Page 73 of80




                                                                                      PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 74 of 80




  20170815_203851_Redacted.pdf                           897707.pd f
  20170815_203857_Re dacted.pdf                          897710.pdf
  CAD_Redacted.pdf                                       897713.pd f
  Commander Review_Redacted.p df                         897716.pdf
  IAPro_Redacted. pdf                                    20170426_ 134449. pdf
  Incident Report- Young_Redacted.pdf                    20170426_134500.pdf
  IncidentReport_Redacted. pdf                           20170426_ 134504.pdf
  OWS-Aric o_Redacted .pdf                               20170426_134510.pdf
  OWS- Owens_Redacted.pdf                                20170426_134516.pdf
  OWS-Parsons.pdf                                        20170426_ 134521. pdf
  Commander's review_Redacted.p df                       20170426_134525.pdf
 IAPro_ Redacted.pdf                                    20170426_134538.pdf
 IncidentReport_Redacted.pdf                            20170426_134549.pdf
 Owens O.R._Redacted. pdf                               20170426_134555.pdf
 CAD_Redacted pdf                                       20170426_ 134602. pdf
 CAD2_ Redacted.pdf                                     20170426_134614.pdf
 IRIS follow up report_Redacted. pdf                    20170426_134631.pdf
 IRIS incident Report_Redacted. pdf                     20170426_134637.pdf
 Preliminary Blue Team report_Redacted.pdf              20170426_134656.pdf
 A-187.pdf                                              20170426_ 134807. pdf
 CAD.pdf                                                20170426_134817.pdf
 IAPro.pdf                                              20170426_134825.pdf
 Incident Report- Laux_Redacted.pdf                     20170426_134833.pdf
 IncidentReport.pdf                                     20170426_134842.pdf
 OWS- Owens.pdf                                         20170426_134903.pdf
 Pursuit Map.pdf                                        20170426_134915.pdf
 Pursuit worksheet.pdf                                  20170426_ 134929 .pdf
 SW Radio.MP3                                           20170426_135006.pdf
Updated OWS Owens.pdf                                   20170426_135015.pdf
 17-135805 CAD_Redacted.pdf                             20170426_135020.pdf
A-187 Supervisor 422 review_Redacted.pdf                20170426_ 135028.pdf
CAD #Cl 7020675 (Owens) Burien 422_Redacted.pdf         20170426_135855.pdf
Final Memo Owens P2017-021 .pdf                        20170426_135859.pdf
Final Memo Thomas P2017-021 .pdf                       20170426_135926_Redacted.pdf
Handwrittens Cl 7020633_Redacted.pdf                   20170426_135944.pdf
IAPro_ Redacted. pdf                                   20170426_140231.pdf
IncidentReport_Redacted. pdf                           20170426_140240.pdf
IR Dep. T. Owens_Redacted.pdf                          20170426_140306.pdf
Map_pursuit Checklist_Redacted. pdf                    20170426_140341.pdf
OWS Dep. Arico_Redacted.p df                           20170426_140346.pdf
OWS Dep. B. Miller_Red acted.pdf                       20170426_140443.pdf
OWS Dep. G. Anderson_R edacted.pd f                    20170426_140450.pdf
OWS Dep. Gervacio (K9).pdf                             20170426_140504.pdf
OWS Dep. J. Thomas_Redacted.pdf                        20170426_140702.pdf
897680.pdf                                             20170426_140817.pdf
897683.pdf                                             20170426_ 140826. pdf
897686.pdf                                             20170426_ 140844.pdf
897689.pdf                                             20170426_143403.pdf
897692.pdf                                             20170426_143418.pdf
897695.pdf                                             20170426_ 143508.pdf
897698.pdf                                             20170426_143535.pdf
897701.pdf                                             20170426_143711.pdf
897704.pdf                                             20170426_143746.pdf
                                            Page 74 of 80




                                                                                 PLTF EXHIBIT B
           Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 75 of 80




     20170426_143840.pelf                                         Owen Photo Left Face Cl6054718.pdf
     103810_ Redacted pdf                                         Owen Photo Right knee Cl6054718.pelf
     103811.pdf                                                   Owen Photo Taser Cl6054718.pdf
     103812.pdf                                                   OWS HENNESSY ci6054718_Redactedpdf
     103813.pelf                                                  OWS MALLOY cl6054718_Redacted.pdf
    103814.pdf                                                    OWS THOMAS ci6054718_Redacted.pdf
    103815.pdf                                                    Superform Cl6054718_Redacted.pdf
    103816.pdf                                                    Supervisory Review C 16054718_ Redacted.pdf
    IAPro_Redacted.pelf                                          Taser Download Cl 6054718.pdf
    Incident Reports_Redacted.pdf                                Voyles Photo Back Cl6054718.pdf
    IncidentReport_Redacted.pdf                                  Voyles Photo Face Cl 6054718_Redacted.pelf
    Related Documents_Redacted.pdf                               Voyles Photo Thigh C16054718.pelf
    Supervisor Use of Force Incident Review_Redacted. pelf       Voyles Photo Thigh close up Cl6054718.pdf
    CAD Cl6033846_Redacted.pdf                                   A-125_ Redacted.pdf
    Commander's review_Redacted.pdf                              CAD Entry Cl6061059_Redacted.pdf
   IAPro_ Redacted. pdf                                          Commander Review_Redacted. pelf
   INcdient Report Cl6033846_Redacted.pdf                        IAPro_ Redacted.pelf
   IncidentReport_Redacted.pdf                                   IncidentReport_ Redacted.pdf
   MASTER EVID C16033846_Redacted.pdf                            Inicdent Report Laux_Redacted.pdf
   OWS ALEXANDER Cl6033846_Redacted.pdf                          OWS Hayden_Redacted. pdf
   OWS CUEVA Cl6033846_Redacted.pdf                              OWS Owens_Redactedpelf
   OWS KENNAMER Cl6033846_Redacted.pdf                           OWS Young_Redacted.pdf
   PHOTO CUEVA Cl6033846 FRONT.pdf                              Photgraph Deputy Laux Injury.pdf
   PHOTO CUEVA Cl6033846 LEFT HAND.pdf                          Photgraph Deputy Ownes.pdf
   PHOTO CUEVA Cl6033846 LEFT KNEE.pdf                          Photograph Deputy Laux.pdf
   PHOTO CUEVA Cl6033846 PANT LEGS FRONT.pdf                    Photograph Suspect Terry 2.pdf
   PHOTO CUEVA Cl6033846 RIGHT ELBOW 2.pelf                     Photograph Suspect Terry_Redacted. pdf
   PHOTO CUEVA C16033846 RIGHT ELBOW.pdf                        Radio Traffic.MP3
   SCORE BOOKING SHEET Cl6033846_Redacted.pelf                  Witness Statement Teala Faulconer_Redacted.pdf
   SCORE JAIL LOG Cl6033846_Redactedpdf                         A-125_ Redacted.pdf
   SCORE PHOTOS Cl6033846_Redacted.pdf                          CAD_Redactedpdf
   SCORE STATEMENT COMFORT                                      Commander Review_ Redacted pelf
   Cl6033846_Redactedpdf                                        IAPro_ Redacted.pdf
   SCORE STATEMENT DILLEHAY                                    Incident Report-Owens_Redacted. pdf
   C 16033 846_ Redacted.pdf                                   IncidentReport_Redacted.pelf
   SCORE STATEMENT MARKEN                                      OWS-Molina_ Redacted.pdf
   C16033846_Redacted.pdf                                      OWS-Spiewak_ Redacted.pdf
   SUPERVISOR USE OF FORCE INVESTIGATION                       OWS-Young_Redacted. pdf
  AND REVIEW MCLAUCHLAN                                        Photos_Redacted.pdf
· C16033846_Redacted.pdf                                       Witness Statement_Redacted.pdf
  CAD Radio Cl6054718_Redacted.pdf                             911 Audio.MP3
  Caller Patron C 16054718.mp3                                 A-125_ Redacted.pdf
  Commander Review_Redacted.pelf                               CAD_Redactedpdf
  DOL C16054718_Redacted.pdf                                   Commander Review_Redacted.pdf
  Evidence Cl6054718_Redactedpdf                               IAPro_ Redactedpdf
  IAPro_ Redacted. pdf                                         InciqentReport_Redacted. pdf
  INCID SUPP MCLAUCHLAN Cl6054718.pdf                          IRlS Report l_Redacted.pdf
  Incident Report Cl60054718_Redacted.pdf                      IRlS Report 2_Redacted.pdf
  lncidentReport Redacted. pdf                                 OWS 1_ Redacted.pdf
  Library Call 2 C16054718.mp3                                 OWS2_ Redacted.pdf
  Owen Photo Face Cl6054718.pdf                                Photos UOF 2017-058_Redacted.pelf
 Owen Photo Full Uniform C16054718.pdf                         V Statement.MP3
 Owen Photo left elbow Cl6054718.pdf                           17-134642 CAD_Redacted.pdf
                                                    Page 75 of 80




                                                                                             PLTF EXHIBIT B
          Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 76 of 80




    17-134642- C17020491 - SWRADIOAND                         CEW report (download).pdf
   TAC4- #29- 1535-1547- REAL.MP3                             Commander Review_Redacted.pdf
   Commander Review_Redacted.pdf                              FU_R - Det. A Thompson_Redacted.pdf
   FU Dep. T. Owens.pdf                                       FU_R- Sgt. Barden.pdf
   IAPro_ Redacted. pdf                                       FU-Rl - Det. A Thompson_Redacted.pdf
   IncidentReport_Redacted. pdf                               IAPro_ Redacted.pdf
   IR Dep. T. Owens_Redacted.pdf                              IncidentReport_ Redacted.pdf
   Map_Pursuit Checklist.pdf                                  IR- Dep. S Tompkins_Redacted.pdf
   OWS Dep. Buetow_Redacted.pdf                               IS Rpt - Dep. Roach.pdf
   OWS Dep. Cueva_Redacted.pdf                                OWS - Dep. Arico_Redacted.pdf
   OWS Dep. Emrick_Redactedpdf                                OWS - Dep. B Miller_Redactedpdf
   OWS Dep. Laux_Redacted.pdf                                 OWS - Dep. G Anderson_Redacted.pdf
   Photos 1. pdf                                              OWS -Dep. Gervacio_K9.pdf
   Photos 2_Redacted.pdf                                      OWS - Dep. Hennessy_Redacted. pdf
   Photos 3_ Redacted. pdf                                   OWS - Dep. J Thomas_Redacted.pdf
   Photos 4.pdf                                              OWS - Dep. Lamothe_Redacted.pdf
  Photos 5.pdf                                               OWS - Dep. Owens_Redacted.pdf
  Photos 6_Redacted.pdf                                      OWS - Dep. Sandu_Redacted.pdf
  UOF supervisor review_Redacted. pdf                        OWS - Det. M McDonald_Redacted.pdf
  A-125 for Molina.pdf                                       OWS - Det. Skaar_Redacted. pdf
  Al-25 Owens.pdf                                            OWS - Sgt. Barden_Redacted.pdf
  CAD.pdf                                                    Photos 1.pdf
  CUOFR.pdf                                                  Photos 2_Redacted. pdf
  IAPro_ Redacted.pdf                                        Photos 3.pdf
  IncidentReport_Redacted. pdf                               Photos 4.pdf
  SW Radio.MP3                                               Photos 5_Redacted. pdf
  Cad Cl 7033976_Redacted.pdf                                UOF Supervisor investigation_Redacted.pdf
  Commander Review_Redacted. pdf                             A-125 Owens_Redacted.pdf
. IAPro_ Redacted.pdf                                        A-125 Young_Redacted.pdf
  Incident Report Cl 7033976_Redacted.pdf                    CAD_Redacted.pdf
 IncidentReport_Redacted. pdf                                commanders use of force review_Redacted.pdf
 Med Release Cl 7033976_ Redacted.pdf                       IAPro_ Redacted.pdf
 Miller OWS Cl 7033976_ Redacted.pdf                        Incident Report_Redacted.pdf
 Photos_Redacted. pdf                                       IncidentReport_ Redacted. pdf
 Supervisor Invest and Review C 17033 97 6_Redacted. pdf    OWS- Owens_Redacted.pdf
 A-125_ Redacted.pdf                                        OWS-Young_Redactedpdf
 Arico OWS_Redacted.pdf                                     OWS-Zulker.pdf
 CAD_Redacted.pdf                                           Photos_Redacted. pdf
 Commander's Review_Redacted.pdf                            911 Tape request form_Redacted.pdf
 IAPro_ Redacted. pdf                                       CAD_ 18-121885_ Cl 8016753_ Redacted.pdf
 Incident Report_Redacted.pdf                               CAD_Redacted. pdf
IncidentReport_Redacted. pdf                                commanders use of force review_Redacted.pdf
Involuntary Committal Form_Redacted. pdf                    IAPro_ Redacted. pdf
Photos_Redacted. pdf                                        Incident Report_Redacted.pdf
Young OWS_ Redacted.pdf                                     IncidentReport_ Redacted. pdf
Zulker OWS.pdf                                              Officer Witness Statements_Redacted. pdf
 l 7-339575_SW RADIO_Op31_1 l 10-1224_REAL                  Photos_Redacted. pdf
TIME.MP3                                                    Supervisor Investigation and Review
91 IRadio request. pdf                                      Form_Redacted.pdf
91 lRadio request_Redacted.pdf                              E:\Witnesses\ExpertslJames Borden\Recs to
A-188 (follow-up)_Redacted. pdf                             Review\Owens Personnel\Witness\
CAD_FU #Kl 7339803 (Robbery)_Redacted. pdf                  Cad Cl6056050_Redacted.pdf
Cad_Redacted.pdf                                            Fuller Commendation C 16056050_ Redacted. pdf
                                                  Page 76 of80




                                                                                          PLTF EXHIBIT B
         Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 77 of 80




   IAPro_ Redacted.pdf                                 OWS-Reed_ Redacted.pdf
   IncidentReport_Redacted.pdf                         OWS-Young_Redacted.pdf
   Iris Report C16056050_Redacted.pdf                  Photos_Redacted. pdf
   CAD Printout.pdf                                    Add'! officer's witness statements_Redacted.pdf
   IAPro.pdf                                           CAD Printout_Redacted.pdf
   Incident Report.pdf                                 CUOFR_ Redacted.pdf
   IncidentReport.pdf                                  IAPro_ Redacted.pdf
   Radio Broadcast.MP3                                 Incident Reports_Redacted. pdf
   CAD_Redacted.pdf                                   IncidentReport_Redacted.pdf
   Dispatch tape.MP3                                  Photographs.pdf
   IAPro_ Redacted.pdf                                 Stolen Vehicle Report_Redacted.pdf
   IncidentReport_Redacted. pdf                       Supervisor Use of Force Incident Review_Redacted.pdf
   Petersons OR_Redacted.pdf                          A-125_ Redacted.pdf
   Preliminary Complaint_Redacted. pdf                Blue Team follow-up form.pdf
   Stracks OR_Redacted.pdf                            Click Incident Supplemental_Redacted.pdf
  A-102 Master Evidence C 1802011 l.pdf               Commander Review_ Redacted.pdf
  CAD K18146416_Redacted.pdf                          Garrity provided to MPO.pdf
  Complaint Report (002).pdf                          Hayden OWS_Redacted.pdf
  Complaint Report (002)_Redacted.pdf                 IAPro_ Redacted.pdf
  Complaint Report.pdf                                IncidentReport_ Redacted.pdf
  IAPro_ Redacted. pdf                                Karanikolas OWS_Redacted.pdf
  INCIDENT REPORT C1802011 l Miller_Redacted.pdf      LESO BILL OF RIGHTS provided to MPO
  OWS C18020111 Cueva_Redacted.pdf                    Mansanarez. pdf
  CAD Printout C16048092_Redacted.pdf                 Mansanarez Incident Report_ Redacted. pdf
  IAPro_ Redacted. pdf                                MPO Mansanarez A-150_Redacted.pdf
  IncidentReport_Redacted.pdf                         MPO Mansanarez Compelled OR_Redacted.pdf
  IRIS Report Cl6048092_Redacted.pdf                  Owens OWS_Redacted.pdf
 OWS Deputy Arico C16048092_Redacted.pdf              Photos_UOF 2017-192_Redacted.pdf
 OWS Deputy Owens C16048092_Redacted.pdf              Refused Medical Release_Redacted.pdf
 OWS Deputy Reed C16048092_Redacted.pdf               Supervisor FU Cl 7057377.pdf
 OWS Deputy Young Cl6048092_Redacted.pdf              Taser Download.pdf
 Photos.pdf                                           Audio Request (911 & Radio)_Redacted.pdf
 A-12 5_ Redacted. pdf                                CAD print_Redacted.pdf
 CAD_Redacted.pdf                                     CAD xreference_ Redacted.pdf
 Commander Review_Redacted. pdf                       Commanders review_Redacted.pdf
 Dep. Cueva OWS_Redacted.pdf                         File l_Redacted.pdf
 Dep. Owens OWS_Redacted.pdf                         File 2.pdf
 Dep. Price OWS_Redacted.pdf                         File 3.pdf
 Glasgow OWS_Redacted.pdf                            File 4.pdf
 IAPro_ Redacted.pdf                                 File 5_ Redacted.pdf
IncidentReport_Redacted. pdf                         FOLLOW-UP SUPPLEMENTAL REPORT (Det.
IRIS Report_Redacted.pdf                             Cotchaleovitch)_Redacted.pdf
Photos_Redacted.pdf                                  IAPro_ Redacted.pdf
Sgt Garza OWS_Redacted.pdf                           INCIDENT REPORT (Dep. Johnson)_Redacted.pdf
Taser download.pdf                                   INCIDENT SUPPLEMENTAL REPORT (Dep.
A-125_ Redacted.pdf                                  Thomas)_Redacted.pdf
CAD_Redacted.pdf                                     IncidentReport_ Redacted. pdf
Comander Review_Redacted.pdf                         OFFICERS WITNESS STATEMENT (Dep.
IAPro_ Redacted. pdf                                 Anderson)_Redacted. pdf
Incident Report-Spiewak_Redacted. pdf                OFFICERS WITNESS STATEMENT (Dep.
IncidentReport_Redacted.pdf                          Arico)_Redacted. pdf
OWS-Laux_ Redacted.pdf                               OFFICERS WITNESS STATEMENT (Dep.
OWS-Owens_Redacted.pdf                               Young} _ Redacted.pdf
                                           Page 77 of80




                                                                                   PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 78 of 80




  OFFICERS WITNESS STATEMENT (Det.                   012919 Johnson Exhibit 158.PDF
  Wheeler)_Redacted.pdf                              012919 Johnson Exhibit 36 [CONFIDENTIAL].PDF
  OFFICERS WITNESS STATEMENT (Maj.                   012919 Johnson Exhibit 52.PDF
  Howard}_Redacted.pdf                               012919 Johnson Exhibit 54.PDF
  OFFICERS WITNESS                                   012919 Johnson Exhibit 55.PDF
  STATEMENT_CaseNbr{c18006995}_OfficerID{00706       012919 Johnson Exhibit 56.PDF
  }_ EventID {1522989770} .pdf                       012919 Johnson Exhibit 58.PDF
  OFFICERS WITNESS                                   012919 Johnson Exhibit 59.PDF
  STATEMENT_CaseNbr{C18006995}_OfficerID{9490        012919 Johnson Exhibit 6.PDF
  6} _ EventID {-9290995 20} _ Redacted. pdf         012919 Johnson Exhibit 60.PDF
  OFFICERS WITNESS                                   012919 Johnson Exhibit 61.PDF
  STATEMENT_CaseNbr{c18006995}_OfficerID{96807      012919 Johnson Exhibit 62.PDF
  }_ EventID{ 1522949347}_Redacted.pd[              012919 Johnson Exhibit 7.PDF
  Statements_Victim_Witness_Redacted.pdf            012919 Johnson Exhibit 71.PDF
  Stmt (witness).pdf                                012919 Johnson Exhibit 74.PDF
 UOF review (supervisor)_Redactedpdf                012919 Johnson Exhibit 77.PDF
 Deputy_Cesar_Molina_020719_ I.mpg                  012919 Johnson Exhibit 79.PDF
 Deputy_Cesar_Molina_020719_ 2.mpg                  012919 Johnson Exhibit 8.PDF
 Deputy_Cesar_Molina_020719_3.mpg                   012919 Johnson Exhibit 81.PDF
 Deputy_Cesar_Molina_020719_ 4.mpg                  012919 Johnson Exhibit 82.PDF
 Deputy_Cesar_Molina_020719_ 5.mpg                  012919 Johnson Exhibit 83.PDF
 IMG 0227.JPG                                       012919 Johnson Exhibit 84.PDF
 IMG 0228.JPG                                       012919 Johnson Exhibit 85.PDF
 012919 Blakeman Exhibit I.PDF                      012919 Johnson Exhibit 90.PDF
 012919 Blakeman Exhibit 14.PDF                     012919 Johnson Exhibit 91.PDF
 012919 Blakeman Exhibit 150.PDF                    012919 Johnson Exhibit 92.PDF
 012919 Blakeman Exhibit 151.PDF                    012919 Johnson Exhibit 93 [WRITTEN NOTE].PDF
 012919 Blakeman Exhibit 152.PDF                    012919 Johnson Exhibit 93.PDF
 012919 Blakeman Exhibit 153.PDF                    012919 Johnson Exhibit 94.PDF
 012919 Blakeman Exhibit 154.PDF                    012919 Johnson Exhibit 96.PDF
 012919 Blakeman Exhibit 155.PDF                    012919 Johnson Exhibit 97.PDF
 012919 Blakeman Exhibit 174.PDF                    012919 Johnson Exhibit 99.PDF
 012919BlakemanExhibit 175.PDF                     012919 Johnson Exhibit H.PDF
 012919 Blakeman Exhibit 177.PDF                   020719 Molina Exhibit 101.PDF
012919 Blakeman Exhibit 178.PDF                    020719 Molina Exhibit 165.PDF
012919 Blakeman Exhibit 181.PDF                    020719 Molina Exhibit 167.PDF
012919 Blakeman Exhibit IA.PDF                     020719 Molina Exhibit 2 CONFIDENTIAL.PDF
012919 Blakeman Exhibit 2.PDF                      020719 Molina Exhibit 23.PDF
012919 Blakeman Exhibit 24.PDF                     020719 Molina Exhibit 52.PDF
012919 Blakeman Exhibit 2B.PDF                     020719 Molina Exhibit 54.PDF
012919 Blakeman Exhibit 52.PDF                     020719 Molina Exhibit 55.PDF
012919 Blakeman Exhibit 54.PDF                     020719 Molina Exhibit 59.PDF
012919 Blakeman Exhibit 55.PDF                     020719 Molina Exhibit 6.PDF
012919 Blakeman Exhibit 56.PDF                     020719 Molina Exhibit 66.PDF
012919 Blakeman Exhibit 58.PDF                     020719 Molina Exhibit 67.PDF
012919 Blakeman Exhibit 65.PDF                     020719 Molina Exhibit 68.PDF
012919 Blakeman Exhibit 71.PDF                     020719 Molina Exhibit 7.PDF
012919 Blakeman Exhibit 72.PDF                     020719 Molina Exhibit 71.PDF
012919 Blakeman Exhibit 93.PDF                     020719 Molina Exhibit 77.PDF
012919 Blakeman Exhibit 97.PDF                     020719 Molina Exhibit 78.PDF
012919 Johnson Exhibit l.PDF                       020719 Molina Exhibit 79.PDF
012919 Johnson Exhibit 130.PDF                     020719 Molina Exhibit 8.PDF
012919 Johnson Exhibit 15.PDF                      020719 Molina Exhibit 81.PDF
                                         Page 78 of80




                                                                              PLTF EXHIBIT B
        Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 79 of 80




020719 Molina Exhibit 82.PDF                 020719 Molina Exhibit 90.PDF
020719 Molina Exhibit 83.PDF                 020719 Molina Exhibit 91.PDF
020719 Molina Exhibit 84.PDF                 020719 Molina Exhibit 98.PDF
020719 Molina Exhibit 85.PDF                 020719 Molina Exhibit I.PDF
020719 Molina Exhibit 9.PDF                  020719 Molina Exhibit J.PDF




                                  Page 79 of80




                                                                        PLTF EXHIBIT B
    Case 2:18-cv-00055-TSZ Document 69-2 Filed 03/07/19 Page 80 of 80




•




                               ge 80 of80




                                                           PLTF EXHIBIT B
